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                                 UNITED STATES DISTRICT COURT
                                      DISTRICT OF MAINE



DEBORAH HUARD
DIEDRE M. DiGIACOMO
and
CHERI A. CAUDILL,                                                   DOCKET No. 1:16-CV-00473-GZS

              Plaintiffs

vs.

KENNEBEC COUNTY
KENNEBEC COUNTY SHERIFF’S OFFICE,
KENNEBEC COUNTY SHERIFF’S OFFICE,
        CORRECTIONS DIVISION,
KENNEBEC COUNTY CORRECTIONAL FACILITY,
RANDALL LIBERTY, in his official and individual capacity,
RYAN REARDON, in his official and individual capacity,
MARSHA ALEXANDER, in her official and individual capacity,
CALISTA CAMPBELL, in her official and individual capacity,
LAURA BRIGGS, in her official and individual capacity,
JESSICA QUINN in her official and individual capacity,
DAN CYR in his official and individual capacity,
TERRY YORK in her official and individual capacity,
BOB DEVLIN, in his official and individual capacity, AND
KENNEBEC COUNTY COMMISSIONERS being PATSY G.
CROCKETT, Kennebec County Commissioner, District 1 in her
individual and official capacity; NANCY G. RINES, District 2 in
her individual and official capacity; and GEORGE M. JABAR, II,
District 3 in his individual and official capacity.

              Defendants


                       FIRST AMENDED COMPLAINT AND JURY DEMAND

             NOW COME Plaintiffs Diedre M. DiGiacomo, Deborah Huard and Cheri A. Caudill, by

      and through their attorney, Jackie T. DiGiacomo, Esq. and for their complaint against defendants

      Kennebec County, Kennebec County Sheriff’s Office, Kennebec County Sheriff’s Office,

      Corrections Division, Kennebec County Correctional Facility, Randall Liberty (former Sheriff),



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Ryan P. Reardon (acting Sheriff), Marsha Alexander (Jail Administrator and Captain), Calista

Campbell (Assistant Jail Administrator and Lieutenant), Laura Briggs (Staff Sergeant), Jessica

Quinn, Dan Cyr (former Sergeant), Terry York (Assistant County Administrator and Human

Resource Manager), Bob Devlin (County Administrator) and the Kennebec County

Commissioners Patsy G. Crockett, Nancy G. Rines and George M. Jabar, II hereby state as

follows:

   1) Plaintiffs sue the Defendants, as individuals and in their official and unofficial capacities,

       for violating Plaintiffs’ rights, for engaging in racketeering and other prohibited

       activities, for engaging in Criminal Conspiracy, Accomplice to Gross Sexual Assault,

       Theft by Extortion, Bribery in Official and Political Matters, Tampering with Public

       Records or Information, Obstructing Government Administration, Falsifying Private

       Records, Failure to Report Sexual Abuse of Person in Custody, Official Oppression,

       wrongful termination, forcing premature retirement and permitted the long term sexual

       harassment and discrimination of its staff, and for directly and proximately causing

       mental anguish, severe emotional distress, emotional pain and suffering. This criminal

       activity has resulted in the wrongful termination, constructive termination and forced

       premature retirement to the detriment of all Plaintiffs. As grounds therefore, Plaintiffs

       allege as follows:

                                    JURISDICTION AND VENUE

   2) This Court has jurisdiction pursuant to the following statutes:

           a. 28 U.S.C. §1331, which gives district courts original jurisdiction over civil

              actions arising under the Constitution, laws or treaties of the United States. In this

              Complaint, there arise there arise claims concerning questions of Federal laws,




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            specifically, 42 U.S.C. §2000e et seq. - Title VII of the Civil Rights Act of 1964;

            42 U.S. Code §12101 et seq. - Title I of the Americans with Disabilities Act; 18

            U.S. Code §1961 et seq. – The Racketeer Influenced and Corrupt Organizations

            (“RICO”) Act; and 18 U.S.C. §1951 (the HOBBS Act);

        b. 28 U.S.C. §1367, which gives district courts supplemental jurisdiction over state

            law claims. In this Complaint, the State law claims are violations of the Maine

            Human Rights Act; and

        c. 18 U.S.C. §1964, which gives district courts subject matter jurisdiction over

            claims arising from 18 U.S. Code §1962 – The Racketeer Influenced and Corrupt

            Organizations (“RICO”).

  3) Venue is proper in this judicial district pursuant to 18 U.S.C. §1965 and 28 U.S.C.

     §1391(b)(2) because:

        a. Defendants Randall Liberty, Ryan P. Reardon, Marsha Alexander, Calista

            Campbell, Laura Briggs, Jessica Quinn, Dan Cyr, Terry York, Bob Devlin, Patsy

            G. Crockett, Nancy G. Rines and George M. Jabar, II are subject to personal

            jurisdiction in this judicial district and each of the Defendants resides, is found,

            has an agent, or transacts their affairs in this District;

        b. Kennebec County, the Kennebec County Sheriff’s Office and its Corrections

            Division and the Kennebec County Correctional Facility are located wholly

            within this district and transact their affairs in this District; and

        c. The events that give rise to this Complaint occurred in this district.

                                               PARTIES




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  4) Plaintiff Diedre M. DiGiacomo is a natural person, a citizen of the United States and

     resides in the County of Kennebec, State of Maine, which is in this judicial district.

     Plaintiff DiGiacomo was employed as a Corrections Officer with the Kennebec County

     Sheriff’s Office, Corrections Division from November 4, 2013 to May 2015.

  5) Plaintiff Deborah Huard is a natural person, a citizen of the United States and resides in

     the County of Kennebec, State of Maine, which is in this judicial district. Plaintiff Huard

     was employed from 1989 to the time of her forced retirement on June 30, 2015 as, inter

     alia, a Corrections Officer with the Kennebec County Sheriff’s Office, Corrections

     Division.

  6) Plaintiff Cheri Caudill is a natural person, a citizen of the United States and resides in the

     County of Kennebec, State of Maine, which is in this judicial district. Plaintiff Caudill

     employed as a Clerical Specialist and subsequently a Corrections Officer with the

     Kennebec County Sheriff’s Office, Corrections Division from March 18, 2013 to the time

     of her wrongful termination on September 17, 2014.

  7) Defendant Kennebec County is a county organized in the State of Maine in 1799, whose

     principal place of business is 125 State Street, 2nd Floor, Town of Augusta, State of

     Maine 04330 and is a duly organized entity of local government under Maine law.

     Defendant Kennebec County transacts its affairs in the County of Kennebec.

  8) Defendant Kennebec County Sheriff’s Office is a department within the County of

     Kennebec which operates the Kennebec County Correctional Facility and has a principal

     office located at 125 State Street, Town of Augusta, County of Kennebec, State of Maine

     04330. Defendant Kennebec County Sheriff’s Office (hereinafter “KCSO”) is a duly




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     organized entity of local government under Maine law and Kennebec County code or

     ordinance. Defendant KCSO transacts its affairs in the County of Kennebec.

  9) Defendant Kennebec County Sheriff’s Office, Corrections Division is a division of

     Kennebec County Sheriff’s Office and is part of the County of Kennebec local

     government which is operated by the KCSO. It has a principal location of 115 State

     Street, Town of Augusta, County of Kennebec, State of Maine 04330 and is a duly

     organized entity of local government under Maine law and Kennebec County code or

     ordinance. Defendant Kennebec County Sheriff’s Office, Corrections Division transacts

     its affairs in the County of Kennebec.

  10) Defendant Kennebec County Correctional Facility (hereinafter “KCCF”) is part of the

     Corrections Division of the County of Kennebec which is operated by the KCSO and has

     a principal location of 115 State Street, Town of Augusta, County of Kennebec, State of

     Maine 04330 and is a duly organized entity of local government under Maine law and

     Kennebec County code or ordinance. Defendant KCCF transacts its affairs in the County

     of Kennebec.

  11) Defendant Randall Liberty is now the Warden of the Maine State Prison in Warren,

     Maine but was the Sheriff for the KCSO and at all times pertinent to this action.

     Defendant Liberty was a supervisor and/or high-ranking official at KCSO with

     management authority over the Plaintiffs and the Defendants. Defendant Liberty is a

     resident of the State of Maine, town unknown to Plaintiffs at this time, and is being sued

     in both his official and individual capacities.   At all times pertinent to this action,

     Defendant Liberty transacted his affairs in the County of Kennebec.




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  12) Defendant Ryan P. Reardon is the interim-Sheriff for the KCSO and a resident of

     Oakland, State of Maine, County of Kennebec. At all times pertinent to this action, he

     was a supervisor and/or high-ranking official at KCSO with management authority over

     the Plaintiffs and the Defendants. He is being sued in both his official and individual

     capacities. Defendant Reardon resides, is found, has an agent, or transacts his affairs in

     Kennebec County.

  13) Defendant Captain Marsha J. Alexander is the Corrections Administrator for KCSO and

     is a resident of the Town of Oakland, County of Kennebec, State of Maine. At all times

     pertinent to this action, she was a supervisor and/or high-ranking official at KCSO with

     management authority over the Plaintiffs. She is being sued in both her official and

     individual capacities. Defendant Alexander resides, is found, has an agent, or transacts

     her affairs in Kennebec County.

  14) Defendant Calista Campbell is a Lieutenant for KCSO and is a resident of the Town of

     Augusta, County of Kennebec, State of Maine.      At all times pertinent to this action, she

     was a supervisor and/or high-ranking official at KCSO with management authority over

     the Plaintiffs DiGiacomo and Caudill and, in pertinent part, over Plaintiff Huard. She is

     being sued in both her official and individual capacities. Defendant Campbell resides, is

     found, has an agent, or transacts her affairs in Kennebec County.

  15) Defendant Laura Briggs is a Staff Sergeant for KCSO and is a resident of the Town of

     Hallowell, County of Kennebec, State of Maine. It is the Plaintiffs belief she resides at

     70 Blaine Road in the Town of Hallowell. At all times pertinent to this action, she was a

     supervisor and/or high-ranking official at KCSO with management authority over the

     Plaintiffs DiGiacomo and Caudill and, in pertinent part, over Plaintiff Huard. She is




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     being sued in both her official and individual capacities. Defendant Briggs resides, is

     found, has an agent, or transacts her affairs in Kennebec County.

  16) Defendant Jessica Quinn is an employee with KCSO whose title is unknown to Plaintiffs

     at this time. She is a resident of the State of Maine, town unknown to Plaintiffs at this

     time. It is the Plaintiffs’ belief that she resides in Kennebec County. She is being sued

     in both her official and individual capacities. Defendant Quinn resides, is found, has an

     agent, or transacts her affairs in Kennebec County.

  17) Defendant Dan Cyr is a Sergeant for KCSO and is a resident of Maine, town unknown to

     Plaintiffs at this time. It is the Plaintiffs’ belief that he resides in Kennebec County. At

     all times pertinent to this action, he was a supervisor and/or high-ranking official at

     KCSO with management authority over the Plaintiffs DiGiacomo and Caudill and, in

     pertinent part, over Plaintiff Huard. He is being sued in both his official and individual

     capacities. Defendant Cyr resides, is found, has an agent, or transacts his affairs in

     Kennebec County.

  18) Defendant Terry York is the Assistant County Administrator and Human Resource

     Manager of Kennebec County and for the Kennebec County Sheriff’s Office and the

     Kennebec County Sheriff’s Office, Corrections Division. She is a resident of the Town

     of Fairfield, County of Somerset, State of Maine. She is being sued in both her official

     and individual capacities. Defendant York is found, has an agent, or transacts her affairs

     in Kennebec County.

  19) Defendant Kennebec County Commissioners (hereinafter “Commissioners”) are the

     County Commissioners. The Kennebec County Commissioners have a principal location

     of 125 State Street, 2nd Floor, Augusta, Maine 04330.            Each Kennebec County




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     Commissioner, Patsy G. Crockett, Nancy G. Rines and George Jabar, II are being sued in

     their individual and official capacities. Pursuant to 30-A M.R.S.A. §61(1), each county

     commissioner is required to reside in the district which they represent.             Each

     commissioner is therefore required to reside in Kennebec County. Each of the Defendant

     Kennebec County Commissioners reside, are found, has an agent, or transacts their

     affairs in Kennebec County.

  20) Defendant Bob Devlin is the County Administrator for Kennebec County with a principal

     office location of 125 State Street, 2nd Floor, Augusta, Maine 04330. He is a resident of

     the Town of Gardiner, County of Kennebec, State of Maine. Defendant Devlin is being

     sued in his individual and official capacity. Defendant Devlin resides, is found, has an

     agent, or transacts his affairs in Kennebec County.

                                   JURY TRIAL DEMAND

  21) Pursuant to Fed.R.Civ.P. 38(b)(2) and Fed.R.Civ.P. 5(d), Plaintiff hereby demands a trial

     by jury on all issues triable to a jury.

                                           INTRODUCTION

  22) This is a civil action for violations of the Maine Human Rights Act and Title VII of the

     Civil Rights Act of 1964 in that the Defendants did discriminate unlawfully against the

     Plaintiffs based on gender, sexual orientation, religion and physical disability.      The

     Maine Human Rights Act and Title VII of the Civil Rights Act of 1964 address the types

     of discriminatory practices that are forbidden in the workplace. In the present case higher

     ranking officials in the governance of Kennebec County, through the Kennebec County

     Sheriff’s Office and the Kennebec County Sheriff’s Office, Corrections Division,

     operating the Kennebec County Correctional Facility, are in fact routinely discriminating




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     against female Corrections Officers and lesbian Corrections Officers. The higher ranking

     officials named in this Complaint who are responsible for the investigation and

     disciplinary action against offenders routinely endorse the hazing, pranking, and third

     party offending of these Corrections Officers by failing to investigate complaints and by

     blaming the victims of such harassment. Each of the Plaintiffs have been subjected to

     unlawful discrimination and forcibly terminated from employment based on their

     protected status.

  23) This is also a civil action for violations of 18 U.S.C. § 1961 et seq. (Racketeer Influenced

     And Corrupt Organizations Act or RICO). RICO addresses the corrupt abuse and misuse

     – usually covertly – of organizations, entities, businesses, institutions or even

     governments or government agencies, such that superficially legitimate entities actually

     operate for criminal purposes irrelevant to the entity’s purpose. In the present case higher

     ranking officials of Kennebec County, through the Kennebec County Correctional

     Facility and Kennebec County Sheriff’s Office are in fact corruptly engaged in a pattern

     of racketeering by having committed multiple acts of racketeering activity in violation of

     18 U.S.C. §1961(5). The racketeering activity consists of criminal activity such as

     Criminal Conspiracy in violation of 17-A M.R.S.A. §151, Accomplice to Gross Sexual

     Assault in violation of 17-A M.R.S.A. §253 by 17-A M.R.S.A. §57, Theft by Extortion in

     violation of 17-A M.R.S.A. §355, Bribery in Official and Political Matters in violation of

     17-A M.R.S.A. §602, Tampering with Public Records or Information in violation of 17-A

     M.R.S.A. §456, Obstructing Government Administration in violation of 17-A M.R.S.A.

     §751, Falsifying Private Records in violation of 17-A M.R.S.A. §707, Failure to Report

     Sexual Abuse of Person in Custody in violation of 17-A M.R.S.A. §760, Official




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     Oppression in violation of 17-A M.R.S.A. §608; multiple counts of unlawful employment

     discrimination in violation of 5 M.R.S.A. §4551, et sec; abuse of their power in violation

     of 17-A M.R.S.A. §601, et sec. (bribery and corruption) by advancing themselves to

     higher ranking, higher paying positions (regardless of their qualifications or lack thereof)

     and advancing certain favored staff personnel, regardless of their qualification or lack

     thereof, who have engaged in acts of sexual harassment and discrimination to create a

     hostile work environment to the detriment of employees targeted for termination. This

     association-in-fact enterprise has falsified official statements and coerced official

     statements with the intent to defraud or deceive other agencies such as the Maine

     Department of Corrections, Office of Professional Responsibility and the Maine Human

     Rights Commission. This constitutes the misuse of the federal funding and government

     offices to advance favored, oftentimes related, personnel rather than proper official

     purposes which violates RICO but is also an injury to, and corruption of, the legitimacy

     of the Kennebec County Sheriff’s Office and the Kennebec County Correctional Facility.

     That is, RICO contemplates injury to the corrupted organization itself by being abused, as

     well as to others in the process.

                          FACTS SPECIFIC TO PLAINTIFF HUARD

  24) Plaintiff Deborah Huard (hereinafter referred to as “Huard”) was employed as a Staff

     Sergeant from approximately 1994 to October 10, 2012 and as a Corrections Officer from

     December 10, 2012 to June 30, 2015 at the Kennebec County Correctional Facility

     (“KCCF”).

  25) Huard engaged in gainful employment with KCCF for a total tenure of over 25 years.

  26) Huard spent 18 years serving KCCF as Staff Sergeant.




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  27) During her tenure as Staff Sergeant, Huard received many positive performance

     evaluations and commendations. In fact, during her 25 ½ years of service to KCCF,

     Huard was regarded as a highly valued member of the department of corrections.

  28) On October 10, 2012, Huard was wrongfully terminated from her position as Staff

     Sergeant so that Defendant Calista Campbell could be promoted from Clerical Specialist

     (Mail Clerk) to Staff Sergeant. Defendant Calista Campbell did not possess all the

     requirements of the position in that she was not Corrections Officer certified. The job

     requirements posting was altered to remove that requirement after Calista Campbell was

     given the position.

  29) Plaintiff Huard was wrongfully terminated for allegedly lying to a superior regarding an

     open investigation of two Officers. At issue were two statements she made to then-Chief

     Deputy Everett Flannery. After having been asked if she questioned one particular

     officer on two occasions, Plaintiff Huard first stated that she “forgot” and then when

     asked again, she stated she “didn’t know” why she didn’t. This was deemed a “lie” and

     for this, Plaintiff Huard was terminated.

  30) The incident in question involved a female lesbian officer and a heterosexual male officer

     who were investigated for engaging in the exact same behavior. The female lesbian

     officer was terminated, however, the heterosexual male was not.

  31) Other male officers and supervisors have committed more egregious acts but were not

     terminated. For example, in August of 2015, Corporal McLean was seen and caught

     having sexual relations with a subordinate in the KCCF parking lot by Sergeant

     LaChance. For this infraction, Corporal McLean was not fired but instead was offered a

     deal to either give up his rank and retain seniority or have his rank taken and lose




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      seniority. Corporal McLean opted to retain his seniority and give up his rank. Being

      terminated or discharged was never considered.

   32) Subsequently, after appeal of her termination, Huard was rehired but not permitted to

      hold her Staff Sergeant position. She was demoted to Corrections Officer.

   33) The duties performed by Plaintiff Huard when she was a Staff Sergeant were

      subsequently assigned to three other staff members, including Defendant Quinn.

   34) In 2012, Huard developed a physical disability related to foot surgeries which did not

      adversely affect her ability to perform her job, however, her doctor restricted her to no

      overtime. She was otherwise fit to perform all aspects of her job and duties therein.

   35) From December 13, 2012 to February 25, 2015, KCCF accommodated this request

      without complaint of undue hardship. Huard provided timely orders from her doctor and,

      upon request, the County preferred provider, Concentra which KCCF required she be

      evaluated by.

   36) For over three years, Plaintiff Huard was not mandated to perform overtime hours.

   37) On June 11, 2014, Jason Chretian, P.A. from Concentra wrote a doctor’s order restricting

      Huard to no overtime and stated in his order that he would re-evaluate in one year. Dr.

      Chretien declared Huard otherwise fit for duty in all aspects.

   38) Despite the fact that one year had not yet lapsed, Terry York, Assistant County

      Administrator and Human Resource Manager at KCCF, demanded that Huard be re-

      evaluated in February 2015.

   39) On February 25, 2015, only 8 months after her prior evaluation, Defendant York

      requested a re-evaluation of Plaintiff Huard’s ability to work overtime. Terry York




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      specifically requested that special attention be paid to Plaintiff Huard’s feet and whether

      or not she could work greater than 40 hours (overtime).

   40) Concentra physician assistant Jason Chretien, PA-C, after evaluating and examining

      Officer Huard, specifically paying special attention to her feet and whether or not she was

      able to work greater than 40 hours, determined that due to her foot pain and foot issues,

      he was putting her on “permanent restriction” of “no OT.”

   41) Despite having paid special attention to Plaintiff Huard’s feet and whether or not she

      could work overtime and determining that while she was otherwise fit for duty but could

      not work overtime, Terry York again contacted Concentra for a revision in the doctor’s

      order.

   42) Subsequent to pressure from Kennebec County Correctional Facility, Jason Chretien, PA-

      C changed his order to accommodate Terry York’s influence.

   43) In her effort to combat this obvious undue influence her employer placed on the county’s

      preferred provider who initially ordered a permanent no overtime restriction and then,

      without re-evaluating Officer Huard, changed their mind about her ability to perform

      overtime after discussions with Terry York, Officer Huard sought independent medical

      opinions. On February 27, 2015 Danielle Doyon, PA-C recommended no overtime. On

      March 21, 2015 James Wilson, DPM recommended no overtime additional duty. On

      April 7, 2015 Danielle Doyon, PA-C again requested Officer Huard only work 41.25

      hours until her appointment with her specialists who recommended no overtime due to

      her cavovarus foot deformity, numbness, tingling, and idiopathic neuropathy. On May

      13, 2015 Richard T. Samson, DPM examined Officer Huard and restricted her to no

      overtime due to chronic foot pain.




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   44) Each of these physicians are actively practicing medicine and took the time to meet with

      and evaluate Plaintiff Huard’s medical conditions. Two of these physicians are Doctors

      of Podiatric Medicine (DPM).

   45) Dr. Steve Brewster, Area Medical Director for Concentra Occupational Medicine Centers

      in Maine performed a “limited review of Ms. Huard’s medical records, had

      communication with her PCP, and a discussion with her podiatrist, Dr. Michael Kipp” to

      determine “there is no medical contraindication for Ms. Huard to work overtime, as long

      as [Kennebec County Sheriff’s Department is] able to accommodate ongoing work

      limitations…as long as it enables her to sit for greater than 50% of that overtime.”

   46) Dr. Brewster did not ever personally examine Plaintiff Huard. Nor did Dr. Brewster ever

      have any communication directly with Plaintiff Huard.

   47) Despite having extreme pain in her feet after standing for excessive periods of time,

      Plaintiff Huard was forced to do mandatory overtime.

   48) Plaintiff Huard was offered to perform her overtime hours in the control room where she

      was able to sit, however, this was not a reasonable accommodation since the cold air in

      the room and sitting for extended periods of time adversely affected her physical

      disability.

   49) Finally, on April 13, 2015, Officer Huard met with then-Sheriff Randall Liberty. She

      reiterated to her senior-most superior that working overtime is causing her extreme pain

      in her feet and that she is unable to work the extra hours without severe consequence.

      Sheriff Liberty’s response is that he would permit a reduction in her overtime hours to 4

      if she provided a firm resignation/retirement date. As Officer Huard appealed for help to




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      the highest authority in her organization, he “recognizes her seniority and supports an

      honorable transition as long as she provides a firm retirement/resignation date.”

   50) Plaintiff Huard’s only restriction was no overtime.         In all other aspects, she was

      physically capable of performing all essential functions of her job. Each doctor she saw

      who ordered no overtime declared her fit for duty, including Jason Chretien of Concentra.

   51) Shortly after Plaintiff Huard was forced to retire, Corrections Officers received a

      substantial pay raise after the new Union Contract was instated.

                          CLAIMS SPECIFIC TO DEBORAH HUARD

                                           CLAIM I
      Discrimination based on physical disability in violation of 5 M.R.S.A. §4551 et seq. –
      Maine Human Rights Act and 42 U.S. Code § 12101 et seq. - Title I of the Americans
                                with Disabilities Act of 1990.

   52) Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth herein.

   53) Kennebec County, the Kennebec County Sheriff’s Office and The Kennebec County

      Sheriff’s Office, Corrections Division are each a “covered entity” as defined by 5

      M.R.S.A. §4553(1-B) in that each is a public entity employer.

   54) 5 M.R.S.A. §4572 makes is unlawful for a covered entity to discriminate against a person

      with a disability because of their disability in regard to the terms, conditions and

      privileges of employment.

   55) Kennebec County, the Kennebec County Sheriff’s Office and The Kennebec County

      Sheriff’s Office, Corrections Division are each a “covered entity” as defined by 42 U.S.

      Code § 12111(2) in that they are employers.

   56) 42 U.S. Code § 12112 makes is unlawful for a covered entity to discriminate against a

      person with a disability because of their disability in regard to the terms, conditions and

      privileges of employment.


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   57) Plaintiff Huard has a disability as defined by 5 M.R.S.A. §4553-A(1)(A)(1). She has

      been diagnosed with Neuroma in both feet which substantially limits one or more of her

      major life activities.

   58) As defined by the American Podiatric Medical Association, “[a] neuroma is a painful

      condition, also referred to as a “pinched nerve” or a nerve tumor. It is a benign growth of

      nerve tissue frequently found between the third and fourth toes. It brings on pain, a

      burning sensation, tingling, or numbness between the toes and in the ball of the foot.”

   59) Plaintiff Huard has a disability as defined by 42 U.S. Code § 12102 in that she has a

      physical impairment, diagnosed by her doctor, for which her employer could have made

      reasonable accommodation by following her doctor’s order of no overtime.

   60) Plaintiff Huard’s disability causes her to experience pain in her feet after extended

      periods of standing. However, these symptoms did not impact her ability to perform the

      essential functions of her job as a Corrections Officer.

   61) Plaintiff Huard is otherwise qualified with reasonable accommodations to perform the

      essential functions of her job as a Corrections Officer.

   62) From December 13, 2012 until February 25, 2015, Plaintiff Huard was permitted by her

      employer to work her regularly scheduled hours with no overtime due to this very same

      condition.

   63) Kennebec County, the Kennebec County Sheriff’s Office and The Kennebec County

      Sheriff’s Office, Corrections Division adversely treated Plaintiff Huard based in whole or

      in part on her disability. Plaintiff Huard had several doctors orders restricting her from

      overtime.    Despite having these doctor orders, Plaintiff Huard was ordered by her

      employer to perform mandatory overtime.




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   64) Kennebec County, the Kennebec County Sheriff’s Office and The Kennebec County

      Sheriff’s Office, Corrections Division adversely treated Plaintiff Huard based in whole or

      in part on her disability by forcing her to retire prematurely.

   65) 30-A M.R.S.A. § 502 prohibits a County or County officers from taking any action, as a

      condition of employment, which requires a county employee to retire at or before a

      specified age or number of years in service.

   66) Kennebec County, the Kennebec County Sheriff’s Office and The Kennebec County

      Sheriff’s Office, Corrections Division engaged in a discriminatory practice with reckless

      indifference to the rights of Plaintiff Huard who is protected under the Maine Human

      Rights Act.

   67) Kennebec County and Kennebec County officers, including the Commissioners, County

      Administrator Bob Devlin, and County Administrative Assistant Terry York, engaged in

      unlawful mandatory retirement practices against Plaintiff Huard in that they forced

      retirement upon her in direct violation of statutory law.

   68) As Human Resource Manager, Defendant Terry York knew or should have known that

      Plaintiff Huard was in a protected class having a physical disability yet Defendant York

      intentionally exerted coercion on the Concentra doctor to alter his orders for Plaintiff

      Huard without re-evaluation, based on Defendant York’s instruction.

   69) As a proximate result of the Defendants’ discriminatory actions, Plaintiff Huard has

      suffered losses in compensation, earning capacity, humiliation, mental anguish and

      emotional distress.

   70) As a result of those actions and consequent harms, Plaintiff Huard has suffered such

      damages in an amount to be proved at trial.




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   71) Defendants’ unlawful actions were intentional, willful, malicious and/or done with

      reckless disregard for Plaintiff Huard’s rights.

   72) Plaintiff Huard requests relief as described in the Prayer for Relief below.

                                             CLAIM II
       Unlawful Retaliation in violation of 5 M.R.S.A. §4551 et seq. – Maine Human Rights
           Act and 42 U.S.C. §2000e et seq. - Title VII of the Civil Rights Act of 1964.

   73) Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth herein.

   74) 5 M.R.S.A. §4633(2) makes unlawful for Kennebec County, the Kennebec County

      Sheriff’s Office and the Kennebec County Correctional Facility to “coerce, intimidate,

      threaten or interfere with any individual in the exercise or enjoyment of the rights granted

      or protected by [the Maine Human Rights] Act…”

   75) 5 M.R.S.A. §4633(1) makes unlawful for Kennebec County, the Kennebec County

      Sheriff’s Office and the Kennebec County Correctional Facility to “discriminate against

      any individual because that individual has opposed any act or practice that is unlawful

      under [the Maine Human Rights] Act or because that individual made a charge, testified,

      assisted or participated in any manner in an investigation, proceeding or hearing under

      [the Maine Human Rights] Act.

   76) 42 U.S. Code § 2000e–3(a) makes unlawful for Kennebec County, the Kennebec County

      Sheriff’s Office and the Kennebec County Correctional Facility to “discriminate against

      any of his employees…because he has opposed any practice made an unlawful

      employment practice by [the Equal Employment Opportunity Act], or because he has

      made a charge…under [the Equal Employment Opportunity Act].”

   77) Plaintiff Huard is a citizen of State of Maine who has a civil right to secure employment

      without discrimination because of her physical disability pursuant to 5 M.R.S.A. §4571.



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   78) The Union Contract expired on June 30, 2014 and a new contract was being negotiated.

      As Union Shop Steward, Plaintiff Huard was involved in the negotiations on behalf of

      Officers and advocating for Officer rights (for safety, breaks, etc.).

   79) As Union Shop Steward Plaintiff Huard advocated for safer working conditions in that

      she made demands for: (1) proper gear/suits for Officers who handle biohazardous waste

      and/or materials; and (2) sufficient breaks for Officers during long shifts.

   80) Plaintiff Huard also complained that the excessive mandatory overtime was detrimental

      to Officer safety, that the number of Officers to inmate ratio on the floors was unsafe.

      Plaintiff Huard also refused to do the Triple “S” job, a task that is designated for

      supervisors only, for Defendant Sergeant Cyr who notoriously demanded that Officers

      perform this responsibility of his.

   81) Officer safety conditions did not improve in that excessive mandatory overtime still

      existed at the time of Plaintiff Huard’s departure, breaks were not consistently given to

      officers in timely manner and certain male Sergeants had male officers perform their

      duties during shifts for special favors such as early release from shifts.

   82) During this time, Jason Chretien, a doctor at the County preferred Concentra, supplied a

      medical note exempting Plaintiff Huard from overtime hours.

   83) Defendant York, the Human Resources Manager, called Concentra, and demanded that

      the doctor who ordered no overtime change the medical note to remove the “no

      overtime” order. Terry York told Dr. Chretien to make this change because she said it

      was against the Union Contract to order no overtime.

   84) The medical note was changed and the order of no overtime was changed. Plaintiff

      Huard was forced to work overtime despite the condition of her feet. This occurred in




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      the same timeframe that she was objecting to the harassment and work place hostility

      that   Plaintiff   DiGiacomo     was   facing      and   complaining   of   hazardous   and

      unsafe/dangerous workplace conditions Corrections Officer faced.

   85) Plaintiff Huard tried to appeal this decision over several months but it was made clear to

      that if she did not do overtime, she would be found not competent or unfit for duty and

      that she would lose her job, despite having been declared fit for duty by multiple

      doctors.

   86) In violation of 42 U.S. Code § 2000e–3(a) and 5 M.R.S.A. §4633(2), Kennebec County,

      the Kennebec County Sheriff’s Office and the Kennebec County Correctional Facility did

      coerce, threaten, intimidate and interfere with Plaintiff Huard’s rights under the Maine

      Human Rights Act by its constructive discharge by forcing her into premature retirement.

   87) In violation of 42 U.S. Code § 2000e–3(a) and 5 M.R.S.A. §4633(1), Kennebec County,

      the Kennebec County Sheriff’s Office and the Kennebec County Correctional Facility did

      discriminate against Plaintiff Huard because she opposed the discrimination against her

      by her supervisors who refused to abide by her doctors’ orders of no overtime.

   88) As a proximate result of the Defendants’ discriminatory actions, Plaintiff Huard has

      suffered losses in compensation, earning capacity, humiliation, mental anguish and

      emotional distress.

   89) As a result of those actions and consequent harms, Plaintiff Huard has suffered such

      damages in an amount to be proved at trial.

   90) Defendants’ unlawful actions were intentional, willful, malicious and/or done with

      reckless disregard for Plaintiff Huard’s rights.

   91) Plaintiff Huard requests relief as described in the Prayer for Relief below.




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                                           CLAIM III
          Unlawful Retaliation in violation of 26 M.R.S.A. §833(1)(A) – Whistleblowers
                                          Protection Act

   92) Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth herein.

   93) Plaintiff Huard made legally protected whistleblower reports in that she complained of

      unsafe working conditions as Union Shop Stewart on behalf of the Corrections Officers.

   94) Subsequent to her numerous reports, including written reports to high ranking

      administrative personnel, including the named Defendants, work conditions remained

      unsafe.

   95) Contemporaneous with Plaintiff Huard’s complaints of unsafe working conditions, her

      employer began forcing her into overtime, despite the pain it caused her.

   96) Plaintiff Huard’s legally protected whistleblower reports were a substantial motivating

      factor in her forced retirement/constructive discharge.

   97) As a result of those actions and consequent harms, Plaintiff Huard has suffered such

      damages in an amount to be proved at trial.

   98) Defendants’ unlawful actions were intentional, willful, malicious and/or done with

      reckless disregard for Plaintiff Huard’s rights.

   99) Plaintiff Huard requests relief as described in the Prayer for Relief below.

                         FACTS SPECIFIC TO PLAINTIFF DIGIACOMO

   100)         On November 4, 2013, Plaintiff Diedre M. DiGiacomo (hereinafter referred to as

      “DiGiacomo”) was hired as a corrections officer at the Kennebec County Correctional

      Facility (“KCCF”).

   101)         DiGiacomo engaged in gainful employment with KCCF for a tenure of 18

      months.




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   102)       During her tenure as Corrections Officer, DiGiacomo received many positive

      performance evaluations and commendations.

   103)       From her first day on the job, Plaintiff DiGiacomo was subjected to daily sexual

      harassment, discrimination based on her gender, religion, and sexual orientation,

      bullying, and a hostile work environment.

   104)       On January 29, 2014, Plaintiff DiGiacomo complained of comments made by

      Officer Rocque to Sergeant LaChance, her direct supervisor.

   105)       Officer Rocque made such comments to Plaintiff DiGiacomo as “the only thing

      that should make me hard in the shower is you” when they were performing work duties

      in the showering unit of the facility.

   106)       At no time did Sergeant LaChance investigate Plaintiff DiGiacomo’s complaint

      about Officer Rocque’s offensive comments.

   107)       By March 6, 2014, after having complained of sexual harassment and

      discriminatory remarks made by fellow Officer Rocque for two months, no investigation

      ensued nor did any higher ranking official reprimand Officer Rocque.

   108)       Sergeant LaChance, instead, advised Plaintiff DiGiacomo to, “take care of an

      issue now (if there is one) or [let] it go. She cannot hold items over peoples heads”

      which he documents in his personal notes.

   109)       Other officers such as Officer Sean Cipriano, and others made frequent

      discriminatory and harassing comments to Plaintiff DiGiacomo on a consistent basis for

      which she continued to complain.

   110)       On June 22, 2014, Plaintiff DiGiacomo was overmedicated by the medical staff at

      KCCF.     After having been dispensed Benadryl and another medication during her




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      scheduled shift by the medical personnel for a rash, Plaintiff DiGIacomo could not

      adequately perform her duties. Despite having called for help to her supervisor, Corporal

      Gardner, she was not relieved of duty which posed grave risk to her life and safety. She

      was ordered to remain on duty an additional 8 hours, which she refused. As a result of

      this refusal of an “order in” to work additional hours, DiGiacomo received disciplinary

      action in the form of a “write up” which she appealed.

   111)      On July 23, 2014, DiGiacomo had her first meeting with Defendant Calista

      Campbell who then was her Lieutenant at KCCF. The meeting was to discuss her

      disciplinary action after having refused an “order in”. During this meeting, DiGiacomo

      informed Defendant Campbell that she was the subject to certain sexual harassment by

      male Corrections Officers. In particular, DiGiacomo reported that a fellow Officer who

      is an African American stated to her that “if you had a dark sexy piece of chocolate like

      me, you wouldn’t be a lesbian.”

   112)      At no time did Lieutenant Calista Campbell initiate an investigation based on

      Plaintiff DiGiacomo’s complaints of discrimination and sexual harassment. Plaintiff

      DiGiacomo had three separate meetings with Defendant Campbell to advise her

      Lieutenant that she was the victim of discrimination and sexual harassment.

   113)      Despite repeated and consistent complaints to her supervisors, including

      Defendant Dan Cyr, no investigation was initiated based on the daily sexual harassment

      and discrimination of Plaintiff DiGiacomo.

   114)      During her employment with KCCF, DiGiacomo was subjected to bullying by her

      co-workers and supervisors, constant startling due to her startle reflex, sexual harassment,




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      discrimination based on her religion, gender and sexual orientation, and work place

      harassment.

   115)         Despite having reported these instances to her supervisors, at no time did any

      higher ranking KCCF official investigate the complaints of DiGiacomo.

   116)         In fact, DiGiacomo’s superiors, including Defendant Cyr, often told her that she

      was to blame for poor relationships with her co-workers and that she was “difficult to get

      along with.”

   117)         During her tenure at KCCF, Plaintiff DiGiacomo took the test for promotion to

      Corporal. Of the three applicants for the position of Corporal at the time Plaintiff

      DiGiacomo pursued a promotion, two of whom were male, she was the most qualified

      applicant. One male applicant was disqualified because he did not meet the requisite

      time working as a Corrections Officer at the jail and the other scored lower than Plaintiff

      DiGiacomo.

   118)         Despite being the most qualified applicant who applied for the position, she was

      denied the promotion which was given to a male Officer that did not submit an

      application for the position, take the supervisor exam or have oral boards as Plaintiff

      DiGiacomo did.

                       CLAIMS SPECIFIC TO DIEDRE M. DiGIACOMO

                                           CLAIM IV
       Discrimination based on Religion and Sexual Orientation and Religion in violation
      of 5 M.R.S.A. §4551 et seq. – Maine Human Rights Act and 42 U.S.C. §2000e et seq.
                          - Title VII of the Civil Rights Act of 1964.

   119)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.




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   120)      Plaintiff DiGiacomo is a citizen of State of Maine who has a civil right to secure

      employment without discrimination because of her religion and sexual orientation

      pursuant to 5 M.R.S.A. §4571.

   121)      Plaintiff DiGiacomo was in a protected status on two counts, that is she is a

      lesbian whose religion is Jewish.

   122)      Plaintiff DiGiacomo experienced adverse action in that she was the target of anti-

      lesbian and anti-Jewish discrimination by her co-workers which she reported to her

      superiors from January 2014 through May 2015. Her complaints were ignored. Plaintiff

      DiGiacomo was eventually constructively discharged when the retaliation against her for

      making complaints escalated.

   123)      The anti-Semitic comments made in Plaintiff DiGiacomo’s presence included

      such comments as, “What did Hitler say when he walked through Auschwitz? Get off me

      Jew.” The speaker of this comment made a motion as though he were wiping ashes off of

      his lapel. Another comment was made by Officer Jon Rocque who stated, when he could

      not find items in the supply closet, “What is this place, Auschwitz?” A third party

      bystander (not a high ranking official) told Officer Rocque that this comment was not

      appropriate.

   124)      The anti-lesbian comments included references to male genitalia including such

      comments as, “If you had a sexy big piece of chocolate like mine, you wouldn’t be a

      lesbian” and from Officer Jon Rocque, “The only thing that should make me hard in the

      shower is you.” Officer Rocque also interrogated Plaintiff DiGiacomo as to whether or

      not she played softball and when she denied that she did, he stated, “Don’t all lesbians

      play softball?” in a mocking and demeaning manner.




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   125)      Despite having reported the discriminatory acts to her superiors, no investigation

      ensued, nor were any offenders reprimanded.

   126)      Despite having reported the discriminatory acts to her supervisors, the offenders

      were rewarded with promotions and pay raises.

   127)      Officer Rocque, who was a frequent offender, was promoted to Corporal. The

      aunt of his fiancé and mother of his child, Corporal St. Pierre, was on the board to

      determine whether or not he received the promotion.

   128)      Plaintiff DiGiacomo was denied a promotion to Corporal when she was the only

      qualified person who applied for the position. She was refused the position because she

      is female, a lesbian and Jewish and therefore, her protected status was the cause or

      motivating factor for this adverse action. A male officer who did not apply for the

      position or take the required exam and oral boards was promoted instead for this position.

   129)      Plaintiff DiGiacomo was injured by the pranks of other Officers when she fell

      down stairs after being jump-scared and startled by a co-worker. In response to this

      incident, Corporal McLane made an announcement over the loudspeaker after a briefing

      which was derogatory in nature and referenced Plaintiff DiGiacomo’s fall.

   130)      Plaintiff DiGiacomo was threatened by inmates who were told by Officers that

      she was a “rat” because she reported Officers who were engaged in pranks such as

      licking contests, putting toothpaste on rags to imitate semen, and placing a “soiled”

      diaper in the elevator to haze an Officer who defecated in his pants.

   131)      Defendant York knew or should have known that the existing sexual harassment

      and discrimination training for Officers was insufficient based on the repeated complaints




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      of Plaintiff DiGiacomo. Yet Defendant York failed or otherwise refused to conduct

      proper training.

   132)      Defendants’ conduct as herein alleged violated Title VII of the Civil Rights Act of

      1964, 42 U.S.C. § 2000e-2(a)(1), which makes unlawful discrimination against

      employees on the basis of religion. The term “religion” includes “all aspects of religious

      observance and practice, as well as belief.” 42 U.S.C. § 2000e(j).

   133)      Defendants discriminated against Plaintiff DiGiacomo in violation of Title VII

      when they refused or otherwise failed to investigate her complaints of discrimination but

      instead rewarded the most egregious offenders with promotions and pay raises.

   134)      Defendants discriminated against Plaintiff DiGiacomo in violation of Title VII

      when they failed to investigate her complaints of discrimination and failed to promote her

      for position of Corporal although she was the only qualified candidate for the position.

   135)      As a proximate result of the Defendants’ discriminatory actions, Plaintiff

      DiGiacomo has suffered losses in compensation, earning capacity, humiliation, mental

      anguish and emotional distress.

   136)      As a result of those actions and consequent harms, Plaintiff DiGiacomo has

      suffered such damages in an amount to be proved at trial.

   137)      Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo’s rights.

   138)      Plaintiff DiGiacomo requests relief as described in the Prayer for Relief below.

                                            CLAIM V
      Unlawful Retaliation in violation of 5 M.R.S.A. §4551 et seq. – Maine Human Rights
          Act and 42 U.S.C. §2000e et seq. - Title VII of the Civil Rights Act of 1964.




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   139)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   140)         5 M.R.S.A. §4633(2) makes unlawful for Kennebec County Sheriff’s Office and

      the Kennebec County Correctional Facility to “coerce, intimidate, threaten or interfere

      with any individual in the exercise or enjoyment of the rights granted or protected by [the

      Maine Human Rights] Act or because that individual has exercised or enjoyed…”

   141)         5 M.R.S.A. §4633(1) makes unlawful for Kennebec County Sheriff’s Office and

      the Kennebec County Correctional Facility to “discriminate against any individual

      because that individual has opposed any act or practice that is unlawful under [the Maine

      Human Rights] Act or because that individual made a charge, testified, assisted or

      participated in any manner in an investigation, proceeding or hearing under [the Maine

      Human Rights] Act.

   142)         Plaintiff DiGiacomo is a citizen of State of Maine who has a civil right to secure

      employment without discrimination because of her religion and sexual orientation

      pursuant to 5 M.R.S.A. §4571.

   143)         In violation of 5 M.R.S.A. §4633(2), the Kennebec County Sheriff’s Office and

      the Kennebec County Correctional Facility did coerce, threaten, intimidate and interfere

      with Plaintiff DiGiacomo’s rights under the Maine Human Rights Act by its failure to

      investigate and/or reprimand those co-workers who were known to have made

      discriminatory and harassing comments to Plaintiff DiGiacomo at work, by blaming

      Plaintiff DiGiacomo for the offensive and discriminatory comments made by others and

      by constructively discharging her.




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   144)       In violation of 5 M.R.S.A. §4633(1), the Kennebec County Sheriff’s Office and

      the Kennebec County Correctional Facility did discriminate against Plaintiff DiGiacomo

      because she opposed the discrimination against her by her co-workers by the failure of

      her employers to give her a promotion based on her sexual orientation, religion and

      gender when she was the only qualified applicant for the position.

   145)       42 U.S. Code § 2000e–3(a) makes unlawful for Kennebec County Sheriff’s Office

      and the Kennebec County Correctional Facility to “discriminate against any of his

      employees…because he has opposed any practice made an unlawful employment practice

      by [the Equal Employment Opportunity Act], or because he has made a charge…under

      this [the Equal Employment Opportunity Act].”

   146)       In March of 2015, Plaintiff DiGiacomo wrote a lengthy letter to Defendant

      Campbell itemizing all the discriminatory and harassing acts perpetrated against her. She

      provided names of the offenders and gave great detail of the discrimination she faced on

      a daily basis.

   147)       Defendant Campbell refused or otherwise failed to investigate Plaintiff

      DiGiacomo’s complaints.

   148)       Subsequent to her written complaint, the Defendants and other personnel at

      KCCF, including Plaintiff DiGiacomo’s supervisors, engaged in a concerted effort to

      retaliate against her by making false claims that she was discriminatory and harassing to

      other co-workers.

   149)       In May of 2015, Plaintiff DiGiacomo requested assurance that the discrimination

      and retaliation would cease. With no assurance, no investigation of her complaints and




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      no support from her superiors, Plaintiff DiGiacomo had no alternative but to consider

      herself constructively discharged from her position.

   150)         Plaintiff DiGiacomo bases her claim of unlawful retaliation on her series of

      complaints of discrimination and harassment spanning a 18 month period which escalated

      in its urgency. After providing written notice to her superior, Defendant Campbell, the

      retaliation became increasingly worse to the point where she was threatened by inmates

      who believed her to be a “rat.”          Immediately thereafter, Plaintiff DiGiacomo was

      constructively terminated. The temporal proximity of Plaintiff DiGiacomo’s written

      complaint to the retaliatory action against her provides a causal link for purposes of a

      prima facie case of unlawful retaliation.

   151)         As a proximate result of the Defendants’ discriminatory actions, Plaintiff

      DiGiacomo has suffered losses in compensation, earning capacity, humiliation, mental

      anguish and emotional distress.

   152)         As a result of those actions and consequent harms, Plaintiff DiGiacomo has

      suffered such damages in an amount to be proved at trial.

   153)         Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo’s rights.

   154)         Plaintiff DiGiacomo requests relief as described in the Prayer for Relief below.

                                              CLAIM VI
                     Unlawful Retaliation in violation of 26 M.R.S.A. §833(1)(A) –
                                   Whistleblowers Protection Act

   155)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.




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   156)      Plaintiff DiGiacomo made legally protected whistleblower reports in that she

      complained on numerous occasions in person and in writing to her superiors that she was

      the victim of sexual harassment, bullying and discrimination in the workplace by co-

      workers.

   157)      Subsequent to her numerous reports, including written reports to Defendant

      Lieutenant Campbell, the hazing, sexual harassment and discrimination not only

      continued, but escalated.

   158)      No higher ranking personnel, superiors to Plaintiff DiGiacomo, would investigate

      and/or eliminate the bullying, sexual harassment and discrimination.

   159)      Plaintiff DiGiacomo was constructively discharged when she informed her

      employer that she would return to work if they could provide assurances that the

      bullying, harassment and discrimination would cease.

   160)      No assurance was forthcoming. To date, no offender has been reprimanded for

      the abuse inflicted upon Plaintiff DiGiacomo.

   161)      Plaintiff DiGiacomo’s legally protected whistleblower reports were a substantial

      motivating factor in her constructive discharge.

   162)      As a proximate result of the Defendants’ discriminatory actions, Plaintiff

      DiGiacomo has suffered losses in compensation, earning capacity, humiliation, mental

      anguish and emotional distress.

   163)      As a result of those actions and consequent harms, Plaintiff DiGiacomo has

      suffered such damages in an amount to be proved at trial.

   164)      Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo’s rights.




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   165)      Plaintiff DiGiacomo requests relief as described in the Prayer for Relief below.

                           FACTS SPECIFIC TO PLAINTIFF CAUDILL

   166)      On March 18, 2013, Plaintiff Cheri Caudill was hired as a Clerical Specialist at

      the Kennebec County Correctional Facility (“KCCF”).

   167)      From the date of her hire to when she entered the Academy for Corrections

      Officer certification in November of 2014, Plaintiff Caudill was favored by the higher

      ranking administrators and co-workers at KCCF.

   168)      Plaintiff Caudill was invited to eat lunch with her co-workers, including

      Defendant Jessica Quinn.

   169)      Plaintiff Caudill had many conversations with Defendant Quinn who espoused

      anti-gay rhetoric.

   170)      On one specific occasion, Defendant Quinn stated that a lesbian Corrections

      Officer and her female partner were making “gay babies.”

   171)      On several occasions, Defendants Briggs, Quinn and Campbell invited Plaintiff

      Caudill to accompany them on off-duty social gatherings and requested that they

      exchange cell phone numbers.

   172)      On or about November 2014, Plaintiff Caudill entered the Academy for training

      to become Corrections Officer certified. During her time at the Academy, it was learned

      that Plaintiff Caudill is a lesbian who was in a relationship with a woman.

   173)      From the time that Defendant Quinn learned of Plaintiff Caudill’s sexual

      orientation, Defendant Quinn made a concerted effort to have her terminated from

      employment.




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   174)        Defendant Quinn made accusations the Plaintiff Caudill made egregious errors in

      the performance of her duties without substantiation such as accusing her of breaking

      protocol when in fact, she did not.

   175)        Defendant Quinn made baseless accusations against Plaintiff Caudill in that she

      reported to supervisors that Plaintiff Caudill held unopened mail in her office, that she

      gave an inmate a stamped envelope, that she failed to deliver legal mail to an inmate

      within the mandatory 24-hour period.

   176)        Plaintiff Caudill was terminated without having the opportunity to defend herself

      against these baseless accusations as is the proper procedure at the Kennebec County

      Correctional Facility.

   177)        Plaintiff Caudill was terminated without having the benefit of an investigation by

      her superiors into the baseless allegations asserted by Defendant Quinn.

   178)        It is a known fact that Defendant Quinn is a personal friend of Defendant

      Campbell who is the Lieutenant.        Defendant Quinn bragged about babysitting the

      Lieutenant’s children.

   179)        Prior to Defendant Quinn learning that Plaintiff Caudill is gay, Plaintiff Caudill

      had no issues or problems at work. She received several accolades from superiors,

      including then-Sheriff Liberty, for going above and beyond her duties on a consistent

      basis.

   180)        The personal friendships amongst her superiors left no recourse for Plaintiff

      Caudill to address the issues and problems that developed after Defendant Quinn learned

      that Plaintiff Caudill is gay. Her superiors were person friends of Defendant Quinn off-




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      duty and despite the fact that Plaintiff Caudill sought assistance from her supervisor,

      Defendant Quinn’s mere accusations were sufficient to have Plaintiff Caudill terminated.

   181)         Subsequent to her termination, Plaintiff Caudill applied for unemployment

      compensation.       After investigation, the Maine Department of Labor concluded that

      Plaintiff Caudill did not engage in the misconduct for which she was terminated.

   182)         Subsequent to her termination, Defendant Quinn secured Plaintiff Caudill’s

      position as mail clerk for a mutual friend of hers, Defendant Briggs and Defendant

      Campbell.

                            CLAIMS SPECIFIC TO CHERI CAUDILL

                                           CLAIM VII
          Discrimination based Sexual Orientation in violation of 5 M.R.S.A. §4551 et seq. –
                                    Maine Human Rights Act

   183)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   184)         Plaintiff Caudill is a citizen of State of Maine who has a civil right to secure

      employment without discrimination because of her religion and sexual orientation

      pursuant to 5 M.R.S.A. §4571.

   185)         Plaintiff Caudill was in a protected status based on her sexual orientation since

      she is a lesbian.

   186)         Plaintiff Caudill experienced adverse action in that she was the target of anti-

      lesbian discrimination by her co-workers who targeted her for termination based on her

      sexual orientation.




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   187)         As a proximate result of the Defendants’ discriminatory actions, Plaintiff Caudill

      has suffered losses in compensation, earning capacity, humiliation, mental anguish and

      emotional distress.

   188)         As a result of those actions and consequent harms, Plaintiff Caudill has suffered

      such damages in an amount to be proved at trial.

   189)         Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff Caudill’s rights.

   190)         Plaintiff Caudill requests relief as described in the Prayer for Relief below.

                         CLAIMS COMMON TO ALL PLAINTIFFS

                                           CLAIM VIII
          Discrimination based on gender in violation of 5 M.R.S.A. §4572 – Maine Human
          Rights Act and 42 U.S.C. §2000e-2(a)(2) (Title VII of the Civil Rights Act of 1964).

   191)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   192)         Plaintiff DiGiacomo was denied a promotion to Corporal which her employer

      stated was based on her lack of knowledge of the “Intake” process.

   193)         The Kennebec County Sheriff’s Office and the Kennebec County Correctional

      Facility routinely deny women the ability to learn the “Intake” process.

   194)         Despite having requested Intake training, Plaintiff DiGiacomo was denied Intake

      Training.

   195)         Of the male supervisors who received promotions, most do not know the Intake

      process.

   196)         Although female Officers are permitted to be “floaters” in Intake and do such

      tasks as “checks,” they are not permitted to be formally trained in this department.



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   197)         Despite the fact that Plaintiff DiGiacomo requested formal training in intake

      multiple times, she was denied that request on each occasion.

   198)         Plaintiff Caudill were also denied training in Intake.

   199)         The refusal to train female (lesbian) Officers in Intake based on their gender is

      unlawful discrimination.

   200)         As a proximate result of the Defendants’ discriminatory actions, Plaintiffs have

      suffered losses in compensation, earning capacity, humiliation, mental anguish and

      emotional distress.

   201)         As a result of those actions and consequent harms, Plaintiffs have suffered such

      damages in an amount to be proved at trial.

   202)         Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiffs’ rights.

   203)         Plaintiffs request relief as described in the Prayer for Relief below.

                                           CLAIM IX
                                  HOSTILE WORK ENVIRONMENT

   204)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   205)         Each of the Plaintiffs suffered repeated or intense harassment sufficiently severe

      or pervasive to create an abusive working environment.

   206)         Each of the Plaintiffs suffered from consistent discrimination over an extended

      span of time which was humiliating, offensive and which unreasonably interfered with

      their ability to perform their duties.




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   207)      Plaintiff DiGiacomo suffered from consistent discrimination over an extended

      span of time which was physically threatening and by which she was injured when she

      fell down stairs after being jump-scared and startled as a prank by a co-worker.

   208)      Plaintiff Huard had a physical disability which rendered her unable to perform

      overtime. Plaintiff Huard was subjected to hostility from her employer who refused to

      abide by her doctor’s order of “no overtime.” The refusal to abide by her doctor’s order

      was part of a concerted effort to force Plaintiff Huard to retire. Despite having brought

      multiple doctor notes from at least 4 different doctors, including the County Preferred

      Provider, KCCF refused to reduce Plaintiff Huard’s work schedule to no overtime hours.

      Over the course of several months, Plaintiff Huard sought assistance from all her

      superiors, including then-Sheriff Randall A. Liberty who demanded that Plaintiff Huard

      resign by a date-certain. Plaintiff Huard was subjected to repeated or intense harassment

      sufficiently severe or pervasive to create an abusive working environment.

   209)      Plaintiff DiGiacomo was subjected to hostility by her employer who refused to

      investigate her complaints of discrimination based on her religious beliefs, sexual

      orientation, and gender. Plaintiff DiGiacomo was subjected to 17 months of abusive,

      offensive, and humiliating discriminatory comments from her co-workers.            Despite

      having complained, no investigation ensued nor were any offenders reprimanded.

   210)      Plaintiff Caudill was subjected to hostility by her employer based on her sexual

      orientation. Because of the nepotism and off-duty friendship between her co-worker,

      Defendant Quinn and Defendant Campbell, Defendant Quinn was able to continually

      harass Plaintiff Caudill with false allegations of misconduct which her employer failed to

      investigate.




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   211)         As a proximate result of the Defendants’ discriminatory actions, Plaintiffs

      DiGiacomo, Huard and Caudill have suffered losses in compensation, earning capacity,

      humiliation, mental anguish and emotional distress.

   212)         As a result of those actions and consequent harms, Plaintiffs DiGiacomo, Huard

      and Caudill has suffered such damages in an amount to be proved at trial.

   213)         Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo, Huard and Caudill’s rights.

   214)         Plaintiffs DiGiacomo, Huard and Caudill requests relief as described in the Prayer

      for Relief below.

                                             CLAIM X
                                        SEXUAL HARASSMENT

   215)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   216)         Plaintiffs are members of a protected class in that they are female and lesbians.

   217)         Plaintiffs were subjected to unwelcome sexual harassment such as:           Plaintiff

      Huard being licked by Officer Sean Cipriano, Plaintiff DiGiacomo being told that if she

      had a big piece of chocolate like another officer suggested, she would not be gay and

      being told by Officer Jon Rocque that the only thing that should make him hard in the

      shower was her; Plaintiff DiGiacomo being told by Officer Cipriano that he licked a

      lesbian.

   218)         Officer Cipriano, during this licking contest, licked Plaintiff Huard on her bare

      arm despite the fact that she told him not to.

   219)         Plaintiff Caudill was present in the office when Defendant Jessica Quinn revealed

      certain private and intimate details about co-workers to the mail clerks.               These


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      conversations included discussions about Mail Clerk Amanda Morgan whose husband

      told Defendant Quinn that she was boring in bed and just laid there. She also reported

      that a Programs Officer, Sheralyn Freeman, who was in a relationship with another

      officer, would often meet with a third officer at a camp to engage in “threesome” sexual

      encounters.

   220)        Plaintiff Caudill tried to avoid the discussions but had no choice but to overhear

      since Defendant Quinn would often initiate these conversations in her presence.

   221)        Another event sexual in nature such was that Corporal Gardner putting a diaper

      soiled with a melted chocolate bar on the elevator to haze an officer for having defecated

      his pants when he was ill. This was witnessed by Plaintiff DiGiacomo and Plaintiff

      Huard.

   222)        Another event sexual in nature was that Officer Cipriano put toothpaste on a rag

      to simulate semen to play a prank.

   223)        These unwelcome sexual harassment was based upon sex and was sufficiently

      severe and pervasive so as to alter the conditions of the Plaintiffs’ employment and create

      an abusive work environment.

   224)        The sexually objectionable conduct was both objectively and subjectively

      offensive, such that a reasonable person would find it hostile or abusive and the Plaintiffs

      in fact did perceive it to be so

   225)        Plaintiff DiGiacomo complained to her superiors Defendant Cyr, Defendant

      Campbell (and other supervisors not named on this Complaint) on a regular basis for 18

      months of the sexual harassment and abusive work environment but her employer did not

      investigate or reprimand any of the perpetrators of harassment.




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   226)         As a proximate result of the Defendants’ discriminatory actions, Plaintiffs

      DiGiacomo, Huard and Caudill have suffered losses in compensation, earning capacity,

      humiliation, mental anguish and emotional distress.

   227)         As a result of those actions and consequent harms, Plaintiffs DiGiacomo, Huard

      and Caudill has suffered such damages in an amount to be proved at trial.

   228)         Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo, Huard and Caudill’s rights.

      Plaintiffs DiGiacomo, Huard and Caudill requests relief as described in the Prayer for

      Relief below.

                                     CLAIM XI
                    A. BREACH OF CONTRACT AS TO UNION CONTRACT

   229)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   230)         At all times pertinent to this action, Plaintiffs were employees of the Kennebec

      County Sheriff’s Office, Corrections Division and subject to the “Agreement Between

      Kennebec County and Teamsters Union Local No. 340, International Brotherhood of

      Teamsters Chauffeurs, Warehousemen and Helpers of America for the Kennebec County

      Employees” dated July 1, 2011 – June 30, 2014 (hereinafter referred to as the “Union

      Contract”).

   231)         Article 7, Section 2 prohibits the County from discharging or suspending an

      employee without just cause. Employees are entitled to “Loudermill” hearings prior to

      discharge or suspension and must be given written notice of the discharge or suspension.

      This Loudermill hearing is an “opportunity prior to the imposition of discipline, for the




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      affected employee…to present additional facts, excuses or explanations to management

      prior to the effective action.”

   232)       Article 26 mandates that the County shall not discriminate against any individual

      with respect to the terms or conditions of employment based on the individual’s religion,

      sex, sexual orientation or disability. The County affirmatively states that it will abide by

      the American With Disabilities Act, as amended.

   233)       Article 32 itemizes the requirements for promotions, including the requirements

      for promotion to Corporal. For the position of corporal, Plaintiff DiGiacomo met all the

      requirements at the time of her application.

   234)       The Union Contract represents a written, binding agreement of the parties.

   235)       This contract required Kennebec County, Kennebec County Sheriff’s Office,

      Kennebec County Sheriff’s Office, Corrections Division and Kennebec County

      Correctional Facility to provide Plaintiff Cheri Caudill with a Loudermill hearing prior to

      her termination.

   236)       This contract required Kennebec County, Kennebec County Sheriff’s Office,

      Kennebec County Sheriff’s Office, Corrections Division and Kennebec County

      Correctional Facility to refrain from discriminating against its employees and abide by

      the American With Disabilities Act.

   237)       This contract required Kennebec County, Kennebec County Sheriff’s Office,

      Kennebec County Sheriff’s Office, Corrections Division and Kennebec County

      Correctional Facility to promote the most qualified candidate for the position of corporal

      at the time Plaintiff DiGiacomo applied.

   238)       The Plaintiffs complied with all provisions of the Union Contract.




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   239)      The Defendants failed to comply with the provisions of this contract by failing to

      conduct a Loudermill hearing prior to termination Plaintiff Caudill.

   240)      The Defendants failed to comply with the provisions of this contract by engaging

      in, and endorsing discrimination against all three Plaintiffs as stated above.

   241)      The Defendants failed to comply with the provisions of this contract by failing to

      promote Plaintiff DiGiacomo to corporal based on discriminatory policies despite the fact

      that she was the most qualified candidate who applied for the position.

   242)      Defendants Reardon, Alexander, Campbell, Briggs, York, Devlin and the

      Kennebec County Commissioners, acting under the color of official right, did breach the

      terms of the agreement between Kennebec County, the Kennebec County Sheriff’s

      Office, the Kennebec County Sheriff’s Office, Corrections Division, Kennebec County

      Correctional Facility and the Plaintiffs.

   243)       As a proximate result of the Defendants’ breach of contract, Plaintiffs

      DiGiacomo, Huard and Caudill have suffered losses in compensation, earning capacity,

      humiliation, mental anguish and emotional distress.

   244)      As a result of those actions and consequent harms, Plaintiffs DiGiacomo, Huard

      and Caudill has suffered such damages in an amount to be proved at trial.

   245)      Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo, Huard and Caudill’s rights.

   246)      Plaintiffs DiGiacomo, Huard and Caudill requests relief as described in the Prayer

      for Relief below.

                                  CLAIM XI
                      B. BREACH OF CONTRACT AS TO KCCF
               POLICY AND PROCEDURE MANUAL and KENNEBEC COUNTY
                          ADMINISTRATIVE REGULATIONS


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   247)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   248)         Upon employment with the Kennebec County Correctional Facility, each

      employee is given a set of Administrative Policies and Procedures which are mandates to

      be followed by each employee.

   249)         The County of Kennebec Administrative Regulations are also mandatory policies

      each employee must follow.

   250)         The Administrative Policies and Procedures and the Kennebec County

      Administrative Regulations outline the scope and terms of employment with Kennebec

      County, the Kennebec County Correctional Facility and the Kennebec County Sheriff’s

      Office.

   251)         The Administrative Policies and Procedures and Kennebec County Administrative

      Regulations constitute a contract between Kennebec County, Kennebec County Sheriff’s

      Office, Kennebec County Correctional Facility and each employee.

   252)         The Administrative Policies and Procedures and the Kennebec County

      Administrative Regulations represent written, binding agreements of the parties.

   253)         Policy Number A-204 provides a policy regarding the “chain of command” and

      utilizing the proper chain of command for departmental communication. This policy sets

      forth a supervisory chain of command “to ensure an orderly flow of information between

      all echelons of supervision…to ensure an unbroken chain of events and responsibilities,

      and to ensure that all urgent or routine data necessary for the smooth operation of the

      facility and its employees reach all persons with a need to know and a need to act.”




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   254)       Policy Number A-205 provides a policy for KCSO to provide an “open door” for

      appropriate access to the facilities Administrator and permits employees to bypass the

      “chain of command” for such matters which, due to their unique or sensitive nature, can

      be taken up with higher ranking officials directly.          These include harassment,

      discrimination or other matters which seriously affect the good order and discipline of the

      facility.

   255)       Policy Number A-203 provides policies and procedures regarding Discrimination

      and Harassment. This policy is missing from the Administrative Policy and Procedure

      Manual. To the Plaintiffs’ information and belief, no current employee can access this

      policy at the Kennebec County Correctional Facility.

   256)       Policy Number A-206 provides Sexual Harassment Policies and Procedures. This

      policy is missing from the Administrative Policy and Procedure Manual. To the

      Plaintiffs’ information and belief, no current employee can access this policy at the

      Kennebec County Correctional Facility.

   257)       Kennebec County – Administrative Regulations Regulation No. 08-56 provides

      the County’s anti-discrimination policy. This Regulation was approved by the County

      Commissioners and sets forth a policy that “Kennebec County provides equal

      employment opportunities (EEO) to all employees and applicants for employment

      without regard to race, color, religion, gender, sexual orientation, national origin, age,

      disability, marital status, amnesty, or status as a covered veteran in accordance with

      applicable federal, state and local laws.”

   258)       Kennebec County – Administrative Regulations Regulation No. 09-37 provides

      that Kennebec County “has an affirmative duty to afford employees a work environment




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      free of sexual discrimination and intimidation of all types.” It also sets forth the policy

      that the County of Kennebec will not tolerate sexual harassment.

   259)      The Plaintiffs complied with all provisions of the Administrative Policies and

      Procedure Manual and the Kennebec County Administrative Regulations.

   260)      The Defendants failed to comply with the Administrative Policies and Procedure

      Manual and the Kennebec County Administrative Regulations in that:

          a. They failed to provide equal employment opportunities to each Plaintiff and

             terminated their employment for their sexual orientation, physical disability,

             religion, gender and for making complaint, using the chain of command, against

             officers engaged in sexual harassment, workplace hostility and retaliation.

          b. They failed to reprimand sexual harassment and discrimination offenders and, in

             fact, gave promotions and pay raises to sexual harassers and discrimination

             offenders.

          c. They violated their affirmative duty to afford Plaintiffs a work environment free

             of sexual discrimination and intimidation.

          d. They infiltrated all high ranking positions and in so doing, render ineffective or

             useless the “open door policy” as a means for employees to address unique or

             sensitive matters directly with the facilities Administrator who, in conspiracy with

             others, perpetrate fraud and/or criminal activities (see RICO counts).

   261)      Defendants Reardon, Alexander, Campbell, Briggs, York, Devlin and the

      Kennebec County Commissioners, acting under the color of official right, did breach the

      terms of the agreement between Kennebec County, the Kennebec County Sheriff’s




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      Office, the Kennebec County Sheriff’s Office, Corrections Division, Kennebec County

      Correctional Facility and the Plaintiffs.

   262)         As a proximate result of the Defendants’ breach of contract, Plaintiffs

      DiGiacomo, Huard and Caudill have suffered losses in compensation, earning capacity,

      humiliation, mental anguish and emotional distress.

   263)         As a result of those actions and consequent harms, Plaintiffs DiGiacomo, Huard

      and Caudill has suffered such damages in an amount to be proved at trial.

   264)         Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo, Huard and Caudill’s rights.

   265)         Plaintiffs DiGiacomo, Huard and Caudill requests relief as described in the Prayer

      for Relief below.

                                     CLAIM XI
                   C. BREACH OF CONTRACT AS TO KENNEBEC COUNTY
                   ADMINISTRATIVE REGULATIONS REGARDING NEPOTISM

   266)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   267)         The County of Kennebec Administrative Regulations are mandatory policies each

      employee must follow.

   268)         The Kennebec County Administrative Regulations outline the scope and terms of

      employment with Kennebec County, the Kennebec County Correctional Facility and the

      Kennebec County Sheriff’s Office.

   269)         The Kennebec County Administrative Regulations constitute a contract between

      Kennebec County, Kennebec County Sheriff’s Office, Kennebec County Correctional

      Facility and each employee.



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   270)      The Kennebec County Administrative Regulations represent written, binding

      agreements of the parties.

   271)      Kennebec County Administrative Regulation No. 04-05-04 provides that

      Kennebec County “is committed to maintaining a fair and equitable workplace, as well as

      keeping supervisors from situations that are a conflict of interest.” It further mandates

      that the hiring authority, department head, or supervisor will not be a relative of a person

      hired, promoted or transferred to a position.

   272)      The Plaintiffs complied with all provisions of the Administrative Policies and

      Procedure Manual and the Kennebec County Administrative Regulations.

   273)      The Defendants failed to comply with the Administrative Policies and Procedure

      Manual and the Kennebec County Administrative Regulations in that:

          a. They promoted family members who did not possess the requisite qualifications

             for the position (Defendant Campbell) but in order to do so, had to wrongfully

             terminate Plaintiff Huard.

          b. They hired family members with the expectation that the family members would

             endorse and/or support their criminal efforts.      Officer Robbins is Defendant

             Reardon’s nephew.

          c. They permitted family members to sit on oral boards to promote sexual

             harassment and discrimination offenders to higher ranking positions. Jon Rocque

             was promoted to corporal when Corporal St. Pierre, the aunt of his child’s mother,

             sat on his oral board. Despite being under investigation for sexually harassing

             multiple female coworkers, Officer Rocque received this promotion.




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          d. They engage in a social circle and advance each other without consideration for

             the facility or county needs.         Defendant Briggs was recently promoted to

             Lieutenant. The position of Staff Sergeant was eliminated and an additional

             position of Lieutenant was created so that she could advance. This was done

             under the guise of saving the county money since she was working overtime

             hours to support her lifestyle.       However, upon promotion, Defendant Briggs

             received a significant pay raise so that she now only has to work 4 days a week to

             earn as much, if not more, money than when she was Staff Sergeant.

          e. Defendants Campbell, Briggs and Quinn have formed a tight knit social circle

             who are seen on social media flaunting their bond. Additionally, Defendant

             Quinn oftentimes brags about her social ties with the higher ranking officials.

             This tight knit social circle violates the Kennebec County directive of maintaining

             a fair and equitable workplace and fails to keep supervisors from situations that

             are a conflict of interest since employees are arbitrarily fired, without just cause

             and in violation of federal and Maine State law when one of these members takes

             issue with the lifestyle or personality of a Kennebec County employee.

   274)      Defendants Liberty, Reardon, Alexander, Campbell, Briggs, York, Devlin and the

      Kennebec County Commissioners, acting under the color of official right, did breach the

      terms of the agreement between Kennebec County, the Kennebec County Sheriff’s

      Office, the Kennebec County Sheriff’s Office, Corrections Division, Kennebec County

      Correctional Facility and the Plaintiffs.




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   275)         As a proximate result of the Defendants’ breach of contract, Plaintiffs

      DiGiacomo, Huard and Caudill have suffered losses in compensation, earning capacity,

      humiliation, mental anguish and emotional distress.

   276)         As a result of those actions and consequent harms, Plaintiffs DiGiacomo, Huard

      and Caudill has suffered such damages in an amount to be proved at trial.

   277)         Defendants’ unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo, Huard and Caudill’s rights.

   278)         Plaintiffs DiGiacomo, Huard and Caudill requests relief as described in the Prayer

      for Relief below.

                                           CLAIM XII
                                     NEGLIGENT SUPERVISION

   279)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   280)         Plaintiffs were each employees of Kennebec County by virtue of their

      employment with the Kennebec County Sheriff’s Office, Corrections Division.

   281)         30-A M.R.S.A. §82 provides that, “The county administrator is the chief

      administrative official of the county and is responsible for the administration of all

      departments and offices controlled by the county commissioners.”

   282)         Defendant Bob Devlin is the County Administrator for Kennebec County.

   283)         The Kennebec County Sheriff’s Office, Kennebec County Sheriff’s Office,

      Corrections Division, and the Kennebec County Correctional Facility are all departments

      and offices controlled by the County Commissioners.




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   284)       Defendant Bob Devlin is the chief administrative official responsible for the

      administration of The Kennebec County Sheriff’s Office, Kennebec County Sheriff’s

      Office, Corrections Division, and the Kennebec County Correctional Facility.

   285)       30-A M.R.S.A. §501 provides that, “[a]n employee may be dismissed by a county

      officer or department head only for cause and only with the prior approval of the county

      commissioners or personnel board…”

   286)       30-A M.R.S.A. §102 provides, “The county commissioners have final authority

      over the operation of all county offices by elected or appointed county officials, except in

      circumstances for which a County Personnel Board has been established under

      subchapter VII, article 2 with the powers and duties set forth in that article and in section

      501. The county commissioners must act as a board and not on an individual basis in

      exercising this authority.”

   287)       30-A M.R.S.A. §102 establishes that the County Commissioners or the County

      Personnel Board has final authority over the operation of all county offices by elected or

      appointed county officials.

   288)       30-A M.R.S.A. §101 charges the Commissioners of each county to “[p]erform all

      other duties required by law.”

   289)       To the best of Plaintiffs knowledge and belief, upon investigation, no County

      Personnel Board has been established in Kennebec County.

   290)       The Kennebec County Sheriff’s Office and the Kennebec County Sheriff’s Office,

      Corrections Division fall within the scope of Kennebec County, the Kennebec County

      Commissioners and Defendant Bob Devlin’s authority and oversight by virtue of

      legislative action.




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   291)        Despite being under the authority and oversight of Kennebec County, the

      Kennebec County Commissioners, and Defendant Bob Devlin, the Defendants have had

      no significant oversight regarding the discrimination perpetrated by the administration

      and others which was endured by the Plaintiffs.

   292)        Despite being under the authority and oversight of Kennebec County, the

      Kennebec County Commissioners, and Defendant Bob Devlin, the Defendants have had

      no significant oversight regarding the criminal conspiracy and criminal activities they

      have and continue to perpetrate, the consequence of which has adversely affected the

      Plaintiffs.

   293)        Each of the Plaintiffs had a “special relationship” with their employer. There was

      a great disparity in position and influence between the parties, marked by the supervision,

      control and authority their employer had daily over their continued employment thereby

      creating a special fiduciary relationship. The Plaintiffs were under strict obligation to

      follow the chain of command when lodging complaints related to their employment and

      the duty of their employer to follow the laws of the State of Maine was breached at every

      level.

   294)        Each of the events complained of transpired on the employer’s property, at the

      Kennebec County Correctional Facility which is owned and operated by Kennebec

      County.

   295)        Kennebec County, the Kennebec County Commissioners, and Defendant Bob

      Devlin knew or should have known that they can exercise control over the employees of

      the Kennebec County Sheriff’s Office, and Kennebec County Correctional Facility by




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      virtue of their statutory authority to administer all departments and office controlled by

      the County Commissioners and to approve all discharges from employment.

   296)      Kennebec County, the Kennebec County Commissioners, and Defendant Bob

      Devlin knew or should have known of the necessity to exercise control over the

      Kennebec County Sheriff’s Office and the Kennebec County Sheriff’s Office,

      Corrections Division since it is statutorily mandated. Additionally, Kennebec County

      and the Kennebec County Commissioners should have become alerted to a suspicious

      pattern of discharges, without just cause, by a review of the record. In particular, an

      examination of Plaintiff DiGiacomo’s file would reveal several documents wherein she

      asserts discrimination. An examination of Plaintiff Huard’s file would have revealed that

      she was being forced into premature retirement when her employer refused to honor the

      multitude of doctors orders for no overtime. A review of Plaintiff Caudill’s file would

      have revealed that the Maine Department of Labor exonerated her from the false charges

      that were asserted by Defendant Jessica Quinn.

   297)      Without any investigation into the discharge practices of the Kennebec County

      Correctional Facility, Kennebec County, the Kennebec County Commissioners, and

      Defendant Bob Devlin permitted the criminal acts and violations of Maine State law to

      continue.

   298)      Kennebec County, the Kennebec County Commissioners, and Defendant Bob

      Devlin, in dereliction of their duties, have failed or otherwise refused to perform all other

      duties required by law by allowing the Defendants to engage in discriminatory practices,

      criminal activity, and nepotism all to the detriment of Plaintiffs.




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   299)         As a proximate result of the Defendants dereliction of duty, Plaintiffs DiGiacomo,

      Huard and Caudill have suffered losses in compensation, earning capacity, humiliation,

      mental anguish and emotional distress.

   300)         As a result of those actions and consequent harms, Plaintiffs DiGiacomo, Huard

      and Caudill have suffered such damages in an amount to be proved at trial.

   301)         Defendant’s unlawful actions were intentional, willful, malicious and/or done

      with reckless disregard for Plaintiff DiGiacomo, Huard and Caudill’s rights.

   302)         Plaintiffs DiGiacomo, Huard and Caudill requests relief as described in the Prayer

      for Relief below.

                                              RICO CLAIMS
                 FACTUAL ALLEGATIONS COMMON TO ALL RICO COUNTS

   303)         Plaintiff incorporates and restates each of the above paragraphs as if fully set forth

      herein.

   304)         The RICO claims in this case arise from the actions of certain administrative,

      higher ranking officials at Kennebec County, the Kennebec County Correctional Facility

      and the Kennebec County Sheriff’s Department in their official and individual capacities

      who conduct an association-in-fact enterprise through the abuse of their various positions.

      The members of this association-in-fact enterprise commit criminal acts in violation of

      Maine State law, in a criminal conspiracy, which serves to advance in pay and promotion

      themselves and certain favored staff. In so doing, the association-in-fact has engaged in

      unlawful conduct such as Criminal Conspiracy, Theft by Extortion, Bribery in Official

      and Political Matters, Tampering with Public Records or Information, Obstructing

      Government Administration, Falsifying Private Records, Failure to Report Sexual Abuse




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      of Person in Custody, Official Oppression, wrongful termination, forcing premature

      retirement and permitted the long term sexual harassment and discrimination of its staff.

   305)      Specifically, the association-in-fact Enterprise (hereinafter referred to as “AIFE”)

      is a syndicate which consists of Defendants Randall Liberty (while employed as Sheriff

      at the Kennebec County Sheriff’s Office), Ryan Reardon, Marsha Alexander, Calista

      Campbell, Laura Briggs, Jessica Quinn, Bob Devlin, Terry York and Dan Cyr and the

      Kennebec County Commissioners.

   306)      For any Racketeer Influenced and Corrupt Organization (RICO) case, it is

      important to distinguish between legitimate organizations, businesses, and even

      government offices and the abuse of those entities for illegal purposes by the unofficial,

      corrupt ―enterprise. The AIFE within Kennebec County, the Kennebec County Sheriff’s

      Office and the Kennebec County Correctional Facility engages in criminal activity,

      dereliction of duties with the intent to cause harm to Corrections Officers, encouraging a

      hostile work environment as a means to force Corrections Officers out of their jobs and

      large-scale discriminatory practices in an attempt to “rid the jail of lesbian” personnel.

   307)      The AIFE has fired highly decorated lesbian employees in order to place their

      own friends and family into positions of power and authority. They have secured all top

      positions within Kennebec County, the Kennebec County Sheriff’s Office and the

      Kennebec County Correctional Facility so that there is no recourse for Officers who have

      been aggrieved by this AIFE. This AIFE has conspired to commit criminal acts such as

      coercing statements, generating false documents, and falsifying statements within

      employee files to cover up wrongful acts perpetrated by themselves and other favored




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      Kennebec County Sheriff’s Office and the Kennebec County Correctional Facility

      employees who inflict sexual harassment and discrimination upon colleagues.

   308)      The AIFE has infiltrated the Union so that Corrections Officers are unable to turn

      to their Union for redress of complaints against administration or other harassing

      colleagues.

   309)      This AIFE has gained power with each advancement up the chain of command.

      Currently, they have a stronghold on the top positions of leadership within Kennebec

      County, the Kennebec County Sheriff’s Office and the Kennebec County Correctional

      Facility and are engaging in criminal activity against Corrections Officers and inmates.

   310)      This case is brought by three Plaintiffs who have suffered great injury as a result

      of the crimes and dereliction of duty by this AIFE.

   311)      Each RICO Defendant is a “person” capable of holding a legal or beneficial

      interest in property as defined by 18 U.S.C. §1961(3).

   312)      Kennebec County Sheriff’s Office, Corrections Division is an enterprise as

      defined by 18 U.S.C. §1961(4) in that it is a legal entity whose mission is “to serve and

      protect the community by providing a secure and humane environment for those

      entrusted to [its] custody… As an integral part of the Criminal Justice System, [its] vision

      is to strengthen public safety by achieving excellence in correctional practices.” Citation:

      KCSO website.

   313)      The RICO Defendants comprise an association-in-fact enterprise within Kennebec

      County, the Kennebec County Sheriff’s Office and the Kennebec County Sheriff’s

      Office, Corrections Division (KCCF).




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   314)      The RICO Defendants are: Randall Liberty (while employed at the Kennebec

      County Sheriff’s Office), Ryan Reardon, Marsha Alexander, Calista Campbell, Laura

      Briggs, Jessica Quinn, Bob Devlin, Terry York, Dan Cyr and the Kennebec County

      Commissioners.

   315)      Each RICO Defendant violated 18 U.S.C. §1962(c), (d) and (b) by the acts

      described in the prior paragraphs and as further described below.

   316)      The activity of the enterprise affects interstate commerce in that the Kennebec

      County Sheriff’s Office, Corrections Division receives federal funding from the United

      States Department of Justice. The RICO Defendants improperly divert federal funding

      when they promote themselves to higher ranking regardless of qualifications, and receive

      pay raises. These promotions serve to empower the criminal conspirators and reward

      them with financial gain to further the criminal conspiracy they engage in.

   317)      The RICO Defendants misuse federal funding to reward favored personnel who

      engage in acts to discrimination, sexual harassment and workplace hostility with

      promotions and pay raises.      The misuse to federal funds constitutes activity of the

      enterprise which affects interstate commerce.

   318)      The RICO Defendants engaged in a “pattern of racketeering” in that they have

      committed at least two acts of racketeering activity which are related and continuous.

      The RICO Defendants have engaged in racketeering activity as far back as October 2012.

      The pattern of racketeering continued on a regular basis as late as June 25, 2015 when

      Plaintiff Huard was forced into premature retirement and continues to this date.

   319)       The racketeering acts are related to the goal of the AIFE, and that is to rid the jail

      of lesbians and to secure the senior-most ranking positions for those within the AIFE.




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      The events complained of herein are not isolated but have continuity. As of the date of

      this complaint, the high ranking administrative RICO Defendants are scheming to revise

      the jail’s hierarchal staffing to advance RICO Defendant Laura Briggs to a higher

      position with greater pay. The RICO Defendants propose to eliminate the Staff Sergeant

      position at the jail and establish a second position of Lieutenant so that Laura Briggs can

      be advanced.

   320)      On information and belief, it is asserted that Staff Sergeant Briggs is engaging in

      excessive overtime hours although she is not required to. She does these overtime hours

      to pay for a new vehicle and other personal expenses. It is asserted this is costing the

      County too much money in paying Briggs overtime so they are advancing her to a higher

      ranking position with greater pay. This amounts to the abuse of power and rewards

      RICO Defendant Laura Briggs for her crimes against Corrections Officers, inmates and

      subsequent cover-ups through the use of false statements, and missing investigatory

      reports.

   321)      The racketeering activity the AIFE engaged in includes extortion under the color

      of right, multiple criminal offenses and discrimination in violation of State and Federal

      law as itemized above.

   322)      The criminal co-conspirators, Liberty, Reardon, Alexander, Campbell, Briggs,

      Cyr, Quinn, York and the Kennebec County Commissioners, acting in concert with one

      another, took substantial steps, and in fact, committed such crimes as described below,

      with intent to complete the commission of these crimes in violation of 17-A M.R.S.A.

      §151 (Criminal Conspiracy), 17-A M.R.S.A. §§57 & 253 (Accomplices to Gross Sexual

      Assault), 17-A M.R.S.A. §355 (Theft by Extortion), 17-A M.R.S.A. §602 (Bribery in




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      Official and Political Matters), 17-A M.R.S.A. §456 (Tampering with Public Records or

      Information), 17-A M.R.S.A. §751 (Obstructing Government Administration), 17-A

      M.R.S.A. §707 (Falsifying Private Records), 17-A M.R.S.A. §760 (Failure to Report

      Sexual Abuse of Person in Custody), 17-A M.R.S.A. §608 (Official Oppression).


                                   RACKETEERING ACTIVITY

   323)       That at all times material to this Complaint, DiGiacomo, Huard and Caudill were

      engaged in employment with Kennebec County at the Kennebec County Sheriff’s Office,

      Corrections Division, and under the authority of its higher ranking administrative

      personnel.

   324)       Under the color of right, the RICO Defendants being the higher ranking

      administrative personnel did unlawfully engage in extortion of each of the Plaintiffs by

      threatening their employment and actually terminating or forcing into early retirement the

      Plaintiffs in this action.

   325)       This extortion was unlawful in that the RICO Defendants used their legitimate

      governmental power to receive actual personal benefit in the form of promotions for

      themselves and other favored employees through the taking of Plaintiffs’ property which

      is their positions within the agency, earnings from employment and other substantial

      benefits afforded Corrections Officers.

   326)       The RICO Defendants did obtain the property of the Plaintiff Huard with her

      consent having been induced by the wrongful use of actual and threatened force and fear

      that she would lose her job in that the defendant did wrongfully terminate and, when she

      regained her employment being demoted to Corrections Officer, did          force Plaintiff

      Huard into premature retirement. Plaintiff Huard was wrongfully terminated from her



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      Staff Sergeant position so that Calista Campbell could be promoted from Clerical

      Specialist/mail clerk to Staff Sergeant although she was not qualified for the position

      since she was not Corrections Officer certified. Thereafter, when Plaintiff Huard was

      rehired, being demoted from her Staff Sergeant position to Corrections Officer, the AIFE

      engaged in unlawful age and physical disability discrimination to create a hostile work

      environment for Plaintiff Huard. From February 25, 2015, the RICO Defendants refused

      to abide by her multiple notes from Doctors (including the County’s preferred provider

      Concentra) that Huard was ordered “No Overtime.” After months of trying to resolve

      this refusal to abide by multiple doctor orders, Huard was offered a deal to be scheduled

      less hours in exchange for her commitment to retire by a date certain within the year

      which the AIFE demanded she put in writing. Huard had no choice but to commit and

      follow through with premature retirement as a result of the RICO Defendants wrongful

      use of force and fear of economic harm. All in violation of Title 18, United States Code,

      Section 1951.

   327)      The RICO Defendants did obtain the property of Plaintiff DiGiacomo with her

      consent having been induced by the wrongful use of actual and threated force and fear

      that she would lose her job in that the RICO Defendants refused to investigate

      DiGiacomo’s complaints of sexual harassment, discrimination based on religion, gender

      and sexual orientation.       After nearly two years of enduring this hostile work

      environment and complaining about it consistently to her supervisors and high ranking

      RICO Defendants, this AIFE concocted a scheme to accuse DiGiacomo of the violations

      she complained of.     RICO Defendant Laura Briggs engaged in submitting false

      statements in order to slander DiGiacomo and force her out of her job. Other Corrections




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      Officers were forced by coercion to generate statements against DiGiacomo. The RICO

      Defendants disclosed confidential information to other Corrections Officers who used

      such information to perpetrate pranks and to make harassing comments to DiGiacomo.

      DiGiacomo had no choice but to consider herself constructively terminated as a result of

      the RICO Defendants wrongful use of force and fear of economic harm. All in violation

      of Title 18, United States Code, Section 1951.

   328)      The RICO Defendants did obtain the property of Plaintiff Caudill with her

      consent having been induced by the wrongful use of actual and threated force and fear

      that she would lose her job in that the RICO Defendants, particularly RICO Defendant

      Jessica Quinn, conspired to terminate Plaintiff Caudill because of her sexual orientation

      so that they could secure the position for a mutual friend. After an investigation by the

      Department of Labor, it was determined that Plaintiff Caudill was wrongfully terminated.

      As a result of the RICO Defendants wrongful use of force and fear of economic harm,

      Plaintiff Caudill was terminated from her employment. All in violation of Title 18,

      United States Code, Section 1951.

                                    STANDING and INJURY

   329)      Plaintiff Diedre M. DiGiacomo has standing to bring this RICO claim in that she

      is a person who sustained an injury through a repeated pattern of discrimination based on

      her gender, religion and sexual orientation. She was constructively fired and therefore

      lost her employment for which she was otherwise qualified by the RICO Defendants in

      furtherance of their criminal scheme to force out of employment lesbian Corrections

      Officers. Upon making complaint of discrimination, the RICO Defendants condoned or

      otherwise promoted the discrimination against DiGiacomo by failing to properly




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      investigate and reprimand the offenders, and ultimately by terminating DiGiacomo’s

      employment. The injury sustained by DiGiacomo was loss of employment, and therefore,

      loss of income and substantial benefits conferred upon an employee of the Kennebec

      County Sheriff’s Office, Corrections Division. DiGiacomo also suffered severe mental

      and emotional trauma by the systematic abuse of sexual harassment, workplace hostility

      and discrimination which went without investigation or disciplinary action against her

      offenders.

   330)      Plaintiff Deborah Huard has standing to bring this RICO claim in that she is a

      person who sustained an injury by first being wrongfully terminated on fabricated

      charges to advance Calista Campbell to the position of Staff Sergeant. Calista Campbell

      was unqualified for the position as she had not received Corrections Officer training and

      was a mail clerk. Calista Campbell is related to Ryan Reardon who held a high ranking

      position. To advance his cousin from the mail room to Staff Sergeant, Huard had to be

      fired. After being re-employed by the organization, Huard was then forced to retire due

      to the refusal to abide by her multiple doctors orders of “No Overtime.” The injury

      sustained by Huard was loss of employment, and therefore, loss of income and

      substantial benefits conferred upon an employee of the Kennebec County Sheriff’s

      Office, Corrections Division. Huard also suffered severe mental and emotional trauma

      by the systematic abuse of sexual harassment, workplace hostility and discrimination

      which went without investigation or disciplinary action against her offenders.

   331)      Plaintiff Cheri Caudill has standing to bring this RICO claim in that she is a

      person who sustained an injury through a repeated pattern of discrimination based on her

      sexual orientation. When certain RICO Defendants learned that Caudill is a lesbian, they




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      engaged in the conduct of conspiring to terminate her employment through unlawful

      means. Plaintiff Caudill was targeted for termination when her homophobic co-worker,

      RICO Defendant Jessica Quinn, learned that Caudill is gay.              Plaintiff Caudill was

      targeted for false allegations of wrongdoing and subsequently wrongfully terminated

      without having had due process.            The injury sustained by Caudill was loss of

      employment, and therefore, loss of income and substantial benefits conferred upon an

      employee of the Kennebec County Sheriff’s Office, Corrections Division. Caudill also

      suffered severe mental and emotional trauma by the systematic abuse of sexual

      harassment, workplace hostility and discrimination which went without investigation or

      disciplinary action against her offenders.

                                              COUNT XIII
                                       Violation of RICO § 1962(c)

   332)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   333)         This Count is against Defendant Randall Liberty, Ryan Reardon, Marsha

      Alexander, Calista Campbell, Laura Briggs, Jessica Quinn, Bob Devlin, Terry York, Dan

      Cyr and the Kennebec County Commissioners (the “Count XIII Defendants”). Kennebec

      County Sheriff’s Office, Corrections Division and each of the named Defendants is an

      enterprise engaged in and whose activities affect interstate commerce. The Count XIII

      Defendants are employed by or associated with the enterprise.

   334)         The Count XIII Defendants agreed to and did conduct and participate in the

      conduct of the enterprise’s affairs through a pattern of racketeering activity and for the

      unlawful purpose of intentionally defrauding the Plaintiffs, defrauding and/or deceiving

      other agencies, and wrongfully terminating Plaintiffs. Specifically:



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      a) The Count XIII Defendants committed the criminal offense of accomplice to gross

         sexual assault in violation of 17-A M.R.S.A. §§57 & 253 in that Defendant Laura

         Briggs, with the endorsement of Defendants Ryan Reardon, Marsh Alexander, Calista

         Campbell, Bob Devlin, Terry York, Dan Cyr and the Kennebec County

         Commissioners did, with the intent of facilitating the commission of gross sexual

         assault upon Inmate No. 15339, aid or agree to aid Nurse Vigue in committing gross

         sexual assault upon Inmate No. 15339. With the assistance of Defendant Briggs and

         Defendant Cyr, Nurse Vigue substantially impaired Inmate No. 15339’s power to

         appraise of control Nurse Vigue’s sexual acts by strapping Inmate No. 15339 to a

         chair and assisting with Nurse Vigue administering drugs, intoxicants and other

         similar means. Defendant Briggs and Defendant Cyr compelled or induced Inmate

         No. 15339 to engage in the sexual act by threat by physically restraining Inmate No.

         15339 while Nurse Vigue pulled her pants down and inserted a suppository

         medication in her rectum.

      b) The administering of the suppository is a sexual act as defined by 17-A M.R.S.A.

         §251(1)(C)(3) as an act involving direct physical contact between the genitals or anus

         of Inmate No. 15339 and an instrument or device manipulated by Nurse Vigue for the

         purpose of causing offensive physical contact.

      c) Subsequently, these Defendants perpetrated the cover-up of the commission of this

         crime by failing to conduct a proper investigation, assigning Defendant Briggs to

         investigate this crime, destroying investigatory statements made by witnesses, and

         failing to report this crime to appropriate law enforcement agencies.




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      d) The Count XIII Defendants committed the criminal offense, in a criminal conspiracy,

         of theft by extortion in violation of 17-A M.R.S.A. §355 by exercising control over

         the property of the Plaintiffs (their employment) as a result of extortion with the

         intent to deprive the Plaintiffs of their property and committed acts to cause

         substantial harm to the Plaintiffs health, safety, calling, career, financial condition,

         and reputation.

      e) The Count XIII Defendants committed the criminal offense, in a criminal conspiracy,

         of Official Oppression in violation of 17-A M.R.S.A. §608 in that on numerous

         occasions, against all three Plaintiffs, the Defendants as public servants and acting

         with the intention of benefitting themselves and to harm the Plaintiffs, committed

         unauthorized acts which purported to be acts of their offices, knowingly refrained

         from performing duties imposed upon them by law or clearly inherent in the nature of

         their offices. Specifically:

             a. On each occasion that Plaintiff DiGiacomo complained of sexual harassment

                and hostile work environment, the Count XIV Defendants had a duty to

                investigate the allegations.    At no time did any high ranking or human

                resource personnel investigate the complaints of religious and sexual

                harassment and hostile work environment.

             b. On each occasion that Plaintiff Huard presented a doctors order of “no

                overtime” due to her foot condition, the Count XIV Defendants had a duty to

                abide by the orders but instead, sought to force Plaintiff Huard into overtime

                hours in an effort to terminate her employment.




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             c. On each occasion that Defendant Jessica Quinn made a false allegation of

                wrongdoing by Plaintiff Caudill, the Count XIV Defendants had a duty to

                investigate the charges. Defendant Quinn’s false allegations were accepted as

                true without providing Plaintiff Caudill the benefit of defending herself.

      f) The Count XIII Defendants committed the criminal offense, in a criminal conspiracy,

         of Bribery in Official and Political Matters in violation of 17-A M.R.S.A. §602 in that

         they promised, offered or otherwise gave pecuniary benefits to others with the

         intention of influencing the other’s actions, decisions, opinions, or recommendations

         as public servants.   They also solicited, accepted or otherwise agreed to accept

         pecuniary benefits from others knowing or believing that the other’s purpose was to

         influence their actions, decisions, opinions, or recommendations as public servants

         and furthermore failed to report to law enforcement that such offers or promised

         pecuniary benefits were made. More particularly, the Count XIII Defendants:

             a. Defendant Reardon, with the endorsement of Defendant Liberty and with the

                endorsement and/or negligent supervision of the Kennebec County

                Commissioners and County Administrator Bob Devlin, has promised, offered

                or otherwise given positions within Kennebec County, the Kennebec County

                Sheriff’s Office and the Kennebec County Sheriff’s Office, Corrections

                Division to family members with the intention of influencing their actions,

                decisions, opinions or recommendations as public servants. More specifically,

                Defendant Reardon has promoted his cousin, Defendant Campbell, to the Staff

                Sergeant position despite her lack of qualifications, altered the job description




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                after her promotion, and in return, expects her to “rid the jail of lesbians” in

                her position of authority.

             b. Defendant Reardon, with the endorsement of Defendant Liberty and with the

                endorsement and/or negligent supervision of the Kennebec County

                Commissioners and County Administrator Bob Devlin, has promised, offered

                or otherwise given a position within Kennebec County, the Kennebec County

                Sheriff’s Office and the Kennebec County Sheriff’s Office, Corrections

                Division to his nephew Officer Robbins with the intention of influencing

                Robbins’ actions, decisions, opinions or recommendations as a public servant.

             c. Defendant Alexander, in her role as Captain and Jail Administrator and with

                the endorsement of Defendants Liberty and Reardon, and with the

                endorsement and/or negligent supervision of the Kennebec County

                Commissioners and County Administrator Bob Devlin, has promoted sexual

                harassment offenders with the intention of influencing their actions, decisions,

                opinions or recommendations as public servants.             More specifically,

                Defendant Alexander promoted Officer Jon Rocque to the corporal position,

                despite the fact that he is under investigation for numerous complaints of

                sexual harassment, and in return expects him to continue to create a hostile

                work environment for lesbian employees at the jail.

      g) The Count XIII Defendants committed the criminal offense, in a criminal conspiracy,

         of Tampering With Public Records or Information in violation of 17-A M.R.S.A.

         §456 in that they knowingly made false entries in or made false alteration of records

         and documents belonging to or received or kept by the County government. The




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         Count XIII Defendants have presented and/or used records and documents knowing

         them to be false with the intent that they be taken as a genuine part of information or

         records belonging to or received or kept by the County government.                More

         particularly, the Count XIII Defendants:

            a. Defendant Briggs, with the endorsement of Defendant Liberty, Defendant

                Reardon, Defendant Alexander, Defendant Campbell and the endorsement

                and/or negligent supervision of the Kennebec County Commissioners and

                County Administrator Bob Devlin, has knowingly made false entries in the

                records of Plaintiff DiGiacomo, Plaintiff Huard and Plaintiff Caudill’s

                employment file and in investigations related to all three Plaintiffs with the

                intent that they be taken as a genuine part of information or records belonging

                to or kept by the Kennebec County Sheriff’s Office, Corrections Division.

                These false statements made by Defendant Briggs were statements used to

                bring adverse action against all three Plaintiffs, in retaliation of their coming

                forward against their employer for discriminatory practices.

            b. Defendant Quinn, with the endorsement of Defendant Liberty, Defendant

                Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs and

                the endorsement and/or negligent supervision of the Kennebec County

                Commissioners and County Administrator Bob Devlin, has knowingly made

                false entries in the records of Plaintiff DiGiacomo, Plaintiff Huard and

                Plaintiff Caudill’s employment file and in investigations related to all three

                Plaintiffs with the intent that they be taken as a genuine part of information or

                records belonging to or kept by the Kennebec County Sheriff’s Office,




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               Corrections Division. These false statements made by Defendant Quinn were

               statements used to bring adverse action against all three Plaintiffs, in

               retaliation of their coming forward against their employer for discriminatory

               practices.

            c. Defendant York, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs and

               the endorsement and/or negligent supervision of the Kennebec County

               Commissioners and County Administrator Bob Devlin, has knowingly made

               false entries in the records of Plaintiff Plaintiff Huard’s employment file in

               that she coerced Concentra provider Jason Chretien into wrongfully revising

               Plaintiff Huard’s doctor’s order from a permanent restriction of no overtime

               with the intent that it be taken as a genuine part of information or records

               belonging to or kept by the Kennebec County Sheriff’s Office, Corrections

               Division. This false statement made by Defendant York was used to bring

               adverse action Plaintiff Huard, in an effort by all Defendants to force her into

               premature retirement.

            d. Defendant Cyr, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs and

               the endorsement and/or negligent supervision of the Kennebec County

               Commissioners and County Administrator Bob Devlin, has knowingly made

               false entries in the records of Plaintiff DiGiacomo, Plaintiff Huard and

               Plaintiff Caudill’s employment file and in investigations related to all three

               Plaintiffs with the intent that they be taken as a genuine part of information or




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                records belonging to or kept by the Kennebec County Sheriff’s Office,

                Corrections Division. Defendant Cyr, by use of coercion and under threat,

                compelled officers to make false statements against the Plaintiffs which were

                statements used to bring adverse action against all three Plaintiffs, in

                retaliation of their coming forward against their employer for discriminatory

                practices.

             e. Defendant Campbell, in concert with Defendant Liberty, Defendant Reardon,

                Defendant Alexander, Defendant Briggs, Defendant York and Defendant Cyr,

                and with the endorsement and/or negligent supervision of the Kennebec

                County Commissioners and County Administrator Bob Devlin, has knowingly

                used false entries in the records of Plaintiff DiGiacomo, Plaintiff Huard and

                Plaintiff Caudill’s employment file and in investigations related to all three

                Plaintiffs to bring adverse action against all three Plaintiffs, in retaliation of

                their coming forward against their employer for discriminatory practices.

      h) The Count XIII Defendants committed the criminal offense, in a criminal conspiracy,

         of Obstructing Government Administration in violation of 17-A M.R.S.A. §751 in

         that they intentionally interfered, by force, violence or intimidation with a public

         servant performing or purporting to perform an official function. More particularly,

         the Count XIII Defendants:

             a. Defendant Cyr, with the endorsement of Defendant Liberty, Defendant

                Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs and

                the endorsement and/or negligent supervision of the Kennebec County

                Commissioners and County Administrator Bob Devlin, has intentionally




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               interfered, by force, violence or intimidation with Plaintiff DiGiacomo,

               Plaintiff Huard and Plaintiff Caudill’s employment while they were

               performing or purporting to perform an official functions for the Kennebec

               County Sheriff’s Office, Corrections Division. Defendant Cyr, by use of

               coercion and under threat, compelled officers to make false statements against

               the Plaintiffs which were statements used to bring adverse action against all

               three Plaintiffs, in retaliation of their coming forward against their employer

               for discriminatory practices.

            b. Defendant Briggs, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, Defendant Campbell, Defendant Cyr and the

               endorsement and/or negligent supervision of the Kennebec County

               Commissioners and County Administrator Bob Devlin, has intentionally

               interfered, by force, violence or intimidation with Plaintiff DiGiacomo,

               Plaintiff Huard and Plaintiff Caudill’s employment while they were

               performing or purporting to perform an official functions for the Kennebec

               County Sheriff’s Office, Corrections Division. Defendant Briggs, by use of

               coercion and under threat, compelled officers to make false statements against

               the Plaintiffs which were statements used to bring adverse action against all

               three Plaintiffs, in retaliation of their coming forward against their employer

               for discriminatory practices.

            c. Defendant Quinn, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs,

               Defendant Cyr and the endorsement and/or negligent supervision of the




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                Kennebec County Commissioners and County Administrator Bob Devlin, has

                intentionally interfered, by force, violence or intimidation with Plaintiff

                DiGiacomo, Plaintiff Huard and Plaintiff Caudill’s employment while they

                were performing or purporting to perform an official functions for the

                Kennebec County Sheriff’s Office, Corrections Division. Defendant Quinn,

                by use of coercion and under threat, made false statements against the

                Plaintiffs which were statements used to bring adverse action against all three

                Plaintiffs, in retaliation of their coming forward against their employer for

                discriminatory practices.

      i) The County XIII Defendants committed the criminal offense, in a criminal

         conspiracy, of Falsifying Private Records in violation of 17-A M.R.S.A. §707 in that

         they, with intent to defraud the Maine Human Rights Commission, the Office of

         Professional Review and the Plaintiffs in this action, made false entries in the records

         of the Kennebec County Correctional Facility, altered, erased, obliterated, deleted,

         removed or otherwise destroyed video-taped evidence of the sexual harassment,

         discrimination and other complaints lodged by the Plaintiffs, omitted to make true

         entries in the records of the Kennebec County Correctional Facility in violation of a

         duty to do so which they knew to be imposed upon them by statute, and prevented the

         making of a true entry or caused the omission thereof in the records of the Kennebec

         County Correctional Facility. More particularly, the Count XIII Defendants:

            a. Defendant Briggs, with the endorsement of Defendant Liberty, Defendant

                Reardon, Defendant Alexander, Defendant Campbell and the endorsement

                and/or negligent supervision of the Kennebec County Commissioners and




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               County Administrator Bob Devlin, has knowingly made false entries in the

               records of Plaintiff DiGiacomo, Plaintiff Huard and Plaintiff Caudill’s

               employment file and in investigations related to all three Plaintiffs with the

               intent to defraud the Maine Human Rights Commission, the Office of

               Professional Review, other governmental agencies and the Plaintiffs in this

               action in violation of her duty which she knew to be imposed upon her by

               statute. These false statements made by Defendant Briggs were statements

               used to bring adverse action against all three Plaintiffs, in retaliation of their

               coming forward against their employer for discriminatory practices.

            b. Defendant Quinn, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs and

               the endorsement and/or negligent supervision of the Kennebec County

               Commissioners and County Administrator Bob Devlin, has knowingly made

               false entries in the records of Plaintiff DiGiacomo, Plaintiff Huard and

               Plaintiff Caudill’s employment file and in investigations related to all three

               Plaintiffs with the intent to defraud the Maine Human Rights Commission, the

               Office of Professional Review, other governmental agencies and the Plaintiffs

               in this action in violation of her duty which she knew to be imposed upon her

               by statute. These false statements made by Defendant Quinn were statements

               used to bring adverse action against all three Plaintiffs, in retaliation of their

               coming forward against their employer for discriminatory practices.

            c. Defendant York, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs and




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               the endorsement and/or negligent supervision of the Kennebec County

               Commissioners and County Administrator Bob Devlin, has knowingly made

               false entries in the records of Plaintiff Huard’s employment file in that she

               coerced Concentra provider Jason Chretien into wrongfully revising Plaintiff

               Huard’s doctor’s order from a permanent restriction of no overtime with the

               intent that it be taken as a genuine part of information or records belonging to

               or kept by the Kennebec County Sheriff’s Office, Corrections Division and in

               violation of her duty which she knew to be imposed upon her by statute.. This

               false statement made by Defendant York was used to bring adverse action

               Plaintiff Huard, in an effort by all Defendants to force her into premature

               retirement.

            d. Defendant Cyr, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, Defendant Campbell, Defendant Briggs and

               the endorsement and/or negligent supervision of the Kennebec County

               Commissioners and County Administrator Bob Devlin, has intentionally

               interfered, by force, violence or intimidation with Plaintiff DiGiacomo,

               Plaintiff Huard and Plaintiff Caudill’s employment while they were

               performing or purporting to perform an official functions for the Kennebec

               County Sheriff’s Office, Corrections Division. Defendant Cyr, by use of

               coercion and under threat, compelled officers to make false statements against

               the Plaintiffs which were statements used to bring adverse action against all

               three Plaintiffs, in retaliation of their coming forward against their employer




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               for discriminatory practices. Defendant Cyr coerced these statements in in

               violation of his duty which he knew to be imposed upon him by statute..

            e. Defendant Campbell, with the endorsement of Defendant Liberty, Defendant

               Reardon, Defendant Alexander, and the endorsement and/or negligent

               supervision    of   the   Kennebec      County       Commissioners    and   County

               Administrator Bob Devlin, and with intent to defraud the Plaintiffs, the Maine

               Human Rights Commission, the Office of Professional Review and other

               governmental agencies, omitted to make a true entry in the records of the

               Kennebec County Correctional Facility by using the false statements created

               by Defendant Briggs, Defendant Quinn, Defendant York and the false

               statements coerced by Defendant Cyr. Knowing that these statements were

               false, Defendant Campbell used and relied upon them, without making

               correction, in violation of a duty which she knew to be imposed upon her by

               statute, to the detriment of all three Plaintiffs.

            f. Defendant Alexander, with the endorsement of Defendant Liberty, Defendant

               Reardon, and the endorsement and/or negligent supervision of the Kennebec

               County Commissioners and County Administrator Bob Devlin, with intent to

               defraud the Plaintiffs, the Maine Human Rights Commission, the Office of

               Professional Review and other governmental agencies, omitted to make a true

               entry in the records of the Kennebec County Correctional Facility by using the

               false statements created by Defendant Briggs, Defendant Quinn, Defendant

               York and the false statements coerced by Defendant Cyr. Knowing that these

               statements were false, Defendant Alexander used and relied upon them,




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                without making correction, in violation of a duty which she knew to be

                imposed upon her by statute, to the detriment of all three Plaintiffs.

             g. Defendant Reardon, with the endorsement of Defendant Liberty, and the

                endorsement and/or negligent supervision of the Kennebec County

                Commissioners and County Administrator Bob Devlin, with intent to defraud

                the Plaintiffs, the Maine Human Rights Commission, the Office of

                Professional Review and other governmental agencies, omitted to make a true

                entry in the records of the Kennebec County Correctional Facility by using the

                false statements created by Defendant Briggs, Defendant Quinn, Defendant

                York and the false statements coerced by Defendant Cyr. Knowing that these

                statements were false, Defendant Reardon used and relied upon them, without

                making correction, in violation of a duty which she knew to be imposed upon

                her by statute, to the detriment of all three Plaintiffs.

      j) The Count XIII Defendants committed the criminal offense, in a criminal conspiracy,

         of Failure to Report Sexual Abuse of Person in Custody in violation of 17-A

         M.R.S.A. §760 in that they knew a person detained at the Kennebec County

         Correctional Facility was the victim of the crime of sexual assault that occurred while

         the victim was detained at the Kennebec County Correctional Facility and, in fact,

         none of the Defendants reported that crime to an appropriate criminal justice agency.

         More particularly, the Count XIII Defendants:

             a. Defendant Briggs failed to report sexual abuse of a female inmate (hereinafter

                referred to as “Inmate No. 15339”) who was a person detained by the

                Kennebec County Correctional Facility to an appropriate criminal justice




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                 agency. Defendant Briggs was witness to and participated in the gross sexual

                 assault of this female inmate by Nurse Kim Vigue on or around December 21

                 or 22, 2015. Defendant Briggs subsequently did an “investigation.” Since

                 Defendant Briggs was involved in and participated in the sexual assault, she is

                 disqualified from conducting the investigation but was charged with the

                 investigation nonetheless. Subsequent to Defendant Briggs’ investigation, all

                 the statements made by witnesses and the video tape recording of the incident

                 went “missing.”

            b.   Defendant Cyr failed to report sexual abuse of Inmate No. 15339 who was a

                 person detained by the Kennebec County Correctional Facility to an

                 appropriate criminal justice agency.    Defendant Cyr was witness to and

                 participated in the gross sexual assault of this female inmate by Nurse Kim

                 Vigue on or around December 21 or 22, 2015.

            c. Defendant Reardon failed to report the sexual abuse of Inmate No. 15339 who

                 was a person detained by the Kennebec County Correctional Facility to an

                 appropriate criminal justice agency. Defendant Reardon knew or should have

                 known that this incident occurred upon two separate investigations which took

                 place. The first investigation was conducted by Defendant Briggs, herself,

                 who participated in the sexual assault. The second investigation took place by

                 the Office of Professional Review which reports to the Sheriff. The gross

                 sexual assault of this female inmate who has severe emotional and mental

                 trauma and illness was covered up by the Kennebec County Correctional

                 Facility and the Kennebec County Sheriff’s Office.




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             d. Defendant Alexander failed to report the sexual abuse of Inmate No. 15339

                who was a person detained by the Kennebec County Correctional Facility to

                an appropriate criminal justice agency. Defendant Alexander knew or should

                have known that this incident occurred upon two separate investigations

                which took place. The first investigation was conducted by Defendant Briggs,

                herself, who participated in the sexual assault. The second investigation took

                place by the Office of Professional Review which reports to the Captain/Jail

                Administrator. The gross sexual assault of this female inmate who has severe

                emotional and mental trauma and illness was covered up by the Kennebec

                County Correctional Facility and the Kennebec County Sheriff’s Office.

             e. Defendant Campbell failed to report the sexual abuse of Inmate No. 15339

                who was a person detained by the Kennebec County Correctional Facility to

                an appropriate criminal justice agency. Defendant Campbell knew or should

                have known that this incident occurred upon two separate investigations

                which took place. The first investigation was conducted by Defendant Briggs,

                herself, who participated in the sexual assault. The second investigation took

                place by the Office of Professional Review which reports to the

                Lieutenant/Assistant Jail Administrator.   The gross sexual assault of this

                female inmate who has severe emotional and mental trauma and illness was

                covered up by the Kennebec County Correctional Facility and the Kennebec

                County Sheriff’s Office.

      k) The Count XIII Defendants committed violations of due process by denying Plaintiff

         Caudill with a means to defend against allegations lodged against her by a




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          homophobic co-worker. The named Defendants orchestrated an unlawful means to

          terminate Plaintiff Caudill through the abuse of their positions.

      l) The Count XIII Defendants committed the abuse of their positions of power and

          authority by wrongfully terminating Plaintiff Huard so that co-conspirator Calista

          Campbell could obtain her position as Staff Sergeant, despite the fact that she was not

          otherwise qualified for the Staff Sergeant position.

      m) The Count XIII Defendants engaged in a systematic targeting of gay female

          Corrections Officers to terminate their employment either by forcing their

          resignations or generating investigations which would cause the gay female

          Corrections Officer to be fired or to voluntarily resign.

      n) The Count XIII Defendants engaged in a systematic pattern of promoting to higher

          ranking positions only those employees who support their religious views and

          personal homophobic agendas and by promoting friends and family members despite

          their lack of qualifications.

   335)       Pursuant to and in furtherance of their fraudulent scheme, the Count XIII

      Defendants committed multiple related acts of, among other offenses, Criminal

      Conspiracy, Accomplice to Gross Sexual Assault, Theft by Extortion, Bribery in Official

      and Political Matters, Tampering with Public Records or Information, Obstructing

      Government Administration, Falsifying Private Records, Failure to Report Sexual Abuse

      of Person in Custody, Official Oppression, violations of due process, abuse of their power

      and positions, and systematically targeting lesbian Officers for termination.

   336)       The acts of, among other offenses, Criminal Conspiracy, Accomplice to Gross

      Sexual Assault, Theft by Extortion, Bribery in Official and Political Matters, Tampering




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      with Public Records or Information, Obstructing Government Administration, Falsifying

      Private Records, Failure to Report Sexual Abuse of Person in Custody, Official

      Oppression, violations of due process, abuse of their power and positions, and

      systematically targeting lesbian Officers for termination set forth above constitute a

      pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

   337)         The Count XIII Defendants have directly and indirectly conducted and

      participated in the conduct of the enterprise’s affairs through the pattern of racketeering

      and activity described above, in violation of 18 U.S.C. § 1962(c).

   338)         As a direct and proximate result of the Count XIII Defendants’ racketeering

      activities and violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their

      business and property in that: each Plaintiff suffered economic loss upon the premature

      and wrongful termination of their employment.

          a. Lost earnings and wages, benefits and privileges related to employment;

          b. Post-Traumatic Stress Disorder;

          c. Bankruptcy;

          d. Loss of primary residence;

          e. Financial distress; and

          f. Loss of retirement benefits.

   339)         Plaintiffs request relief as described in the Prayer for Relief below.

                                               COUNT XIV
                                       Violation of RICO § 1962(b)

   340)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.




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   341)      This Count is against Defendants Randall Liberty, Ryan Reardon, Marsha

      Alexander, Calista Campbell, Laura Briggs, Jessica Quinn, Bob Devlin, Terry York, Dan

      Cyr and the Kennebec County Commissioners (the “Count XIV Defendants”).

   342)      Kennebec County Sheriff’s Office, Corrections Division is an enterprise engaged

      in and whose activities affect interstate commerce.

   343)      The Count XIV Defendants acquired and maintained interests in and control of

      the enterprise through a pattern of racketeering activity. Specifically:

      a) That the named Defendants engaged in the abuse of their power and positions by

          using unlawful means to promote certain favored employees while wrongfully

          terminating others.

      b) That the Count XIV Defendants engaged in a systematic pattern of violations in the

          Maine Human Rights Act by failing to investigate complaints of sexual harassment

          and discrimination which was targeted to remove all female gay Corrections Officers

          from employment.

      c) That the Count XIV Defendants specifically promoted the sexual harassment

          offenders to higher ranking positions.       The most consistent sexual harassment

          offenders include, but are not limited to, Officers Cipriano and Rocque.

      d) That the Count XIV Defendants promoted themselves within the agency to maintain

          positions of power despite otherwise not being qualified for positions in violation of

          Maine’s Criminal Code or by failing to investigate and discipline criminal acts which

          they engage in.

      e) Specifically, Defendant Calista Campbell who did not have Corrections Officer

          certification was promoted to Staff Sergeant. A requirement that the Staff Sergeant




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         be Corrections Officer certified existed at the time of her promotion but was later

         changed so that the promotion would be effective.

      f) Specifically, in December of 2015, Defendant Laura Briggs perpetrated constitutional

         violations against a certain female inmate (Inmate No. 15339) by purposefully and

         without the inmate’s consent, she allowed Nurse Kim Vigue, in her presence and

         upon her orders, to inject a female inmate with medication not prescribed for her,

         saline solutions and forced a suppository medication. Inmate No. 15339 was sexually

         assaulted with the consent and upon the orders of Defendant Laura Briggs who

         allowed Nurse Vigue to insert a suppository medication in the female inmate’s

         rectum.

      g) Defendant Laura Briggs knew or should have known that this sexual assault upon the

         inmate was wrongful since she is the person charged with receiving PREA (Prison

         Rape Elimination Act) complaints.

      h) Specifically, in October 2015, Defendant Calista Campbell perpetrated constitutional

         violations upon a male inmate. Without justification, Campbell ordered an inmate to

         be secured without clothing in a “turtle suit” and strapped him onto a board for

         excessive amounts of time when in fact two mental health professionals determined

         the inmate was not suicidal.

      i) That the Count XIV Defendants engaged in a pattern of discrimination against female

         Corrections Officers by segregating them from training in “Intake” and then citing

         their failure to know “Intake” procedures as cause for failing to promote them to

         higher ranking positions.




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      j) That the named Defendants engaged in falsifying documents to secure their positions

          of power and terminate targeted gay female Corrections Officers.

      k) That the Count XIV Defendants engaged in coercion of Corrections Officers to

          generate false statements against DiGiacomo in an effort to cover up their scheme of

          discrimination and failure to properly investigate and discipline sexual harassment

          and discrimination offenders.

      l) That since September 2014 when Defendant Calista Campbell was promoted from

          mail clerk to Staff Sergeant (and then Lieutenant shortly thereafter), at least 5 female

          gay Corrections Officers (including Plaintiffs) were investigated and terminated on

          false grounds while sexual harassment offenders and other personnel engaged in

          large-scale discrimination received promotions to higher ranks and increased pay.

      m) That the Count XIV Defendants, in their efforts to maintain a stronghold of power,

          infiltrated the Union decision making roles by appointing Laura Briggs to the Union

          Board.   As a Union board member who also has authority to investigate and

          discipline Corrections Officers, Defendant Laura Briggs abused her power and

          authority by committing unlawful acts against inmates and compels Corrections

          Officers to participate. Corrections Officers have no recourse through the Union to

          protect their rights as the Union is run by high ranking Kennebec County Sheriff’s

          Department, Corrections Division personnel.

   344)      The Defendants have acquired and now maintain their interest in the enterprise by

      the promotion of family and friends into high ranking positions. Defendants Reardon and

      Alexander secured the uppermost ranking positions and in so doing, now have filled each

      of the high ranking positions through nepotism.




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   345)         The racketeering activity listed above constitutes a pattern of racketeering activity

      pursuant to 18 U.S.C. § 1961(5).

   346)         The Count XV Defendants have directly and indirectly acquired and maintained

      interests in and control of the enterprise through the pattern of racketeering activity

      described above, in violation of 18 U.S.C. § 1962(b).

   347)         As direct and proximate result of the Count XIV Defendants’ racketeering

      activities and violations of 18 U.S.C. § 1962(b), Plaintiffs have been injured in their

      business and property in that: the Plaintiffs were denied promotions, targeted for

      termination and wrongfully discharged from employment.

   348)         Plaintiffs request relief as described in the Prayer for Relief below.

                                               COUNT XV
                                       Violation of RICO § 1962(d)

   349)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   350)         This count is against Defendants Randall Liberty, Ryan Reardon, Marsha

      Alexander, Calista Campbell, Laura Briggs, Jessica Quinn, Bob Devlin, Terry York, Dan

      Cyr and the Kennebec County Commissioners (the “Count XV Defendants”).

   351)         As set forth above, the Count XV Defendants agreed and conspired to violate 18

      U.S.C. § 1962(b) and (c). Specifically:

          a. The County XV Defendants conspired to acquire or maintain interests in the

                enterprise through a pattern of racketeering activity (§ 1962(b)) by using nepotism

                to promote themselves and/or each other to the highest ranking positions within

                the enterprise; and




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          b. Participated in the conduct of the affairs of the enterprise through a pattern of

             racketeering activity (§ 1962(c)) by committing numerous criminal acts in

             violation of Federal and Maine State law to unlawfully terminate employees,

             commit crimes against inmates, and to cover-up criminal activity through the use

             of falsified statements.

   352)      The Count XV Defendants have intentionally conspired and agreed to acquire or

      maintain interests in the enterprise through a pattern of racketeering activity, and conduct

      and participate in the conduct of the affairs of the enterprise through a pattern of

      racketeering activity. The Count XV Defendants knew that their predicate acts were part

      of a pattern of racketeering activity and agreed to the commission of those acts to further

      the schemes described above. That conduct constitutes a conspiracy to violate 18

      U.S.C.A. § 1962(b) and (c), in violation of 18 U.S.C. § 1962(d).

   353)      As direct and proximate result of the Count XV Defendants’ conspiracy, the overt

      acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d),

      Plaintiffs have been injured in their business and property in that:

          a. The Plaintiffs have suffered economic loss;

          b. The Plaintiffs are precluded from employment with other law enforcement

             agencies due to the nature of their terminations;

          c. The Plaintiffs have suffered emotional distress, including Post Traumatic Stress

             Disorder; and

          d. Plaintiff Caudill has lost her primary residence and is forced to file a Chapter 7

             Bankruptcy petition since her income has been drastically reduced.

                                         COUNT XVI




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    CRIMINAL LIABILITY OF KENNEBEC COUNTY, KENNEBEC COUNTY
  SHERIFF’S OFFICE AND ITS CORRECTIONS DIVISION, KENNEBEC COUNTY
   CORRECTIONAL FACILITY, KENNEBEC COUNTY COMMISSIONERS AND
                 KENNEBEC COUNTY ADMINISTRATOR


   354)         Plaintiffs incorporate and restate each of the above paragraphs as if fully set forth

      herein.

   355)         Defendant Kennebec County is an “organization” as defined by 17-A M.R.S.A.

      §2(19) since it is an unincorporated association.

   356)         Defendant Kennebec County Sheriff’s Office and its Corrections Division are

      “organizations” as defined by 17-A M.R.S.A. §2(19) since they are an unincorporated

      associations.

   357)         Defendant Kennebec County Correctional Facility is an “organization” as defined

      by 17-A M.R.S.A. §2(19) since it is an unincorporated association.

   358)         Defendant Kennebec County Commissioners is an “organization” as defined by

      17-A M.R.S.A. §2(19) since it is an unincorporated association.

   359)         17-A M.R.S.A. §60(1)(A) holds an organization guilty of a crime when “[i]t omits

      to discharge a specific duty of affirmative performance imposed on it by law, and the

      omission is prohibited by [the Maine Criminal Code] or by a statute defining a criminal

      offense outside of this code.”

   360)         17-A M.R.S.A. §60(1)(B) holds an organization guilty of a crime when “the

      conduct or result specified in the definition of the crime is engaged in or caused by an

      agent of the organization while acting within the scope of the agent’s office or

      employment.”




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   361)       The crimes enumerated in the RICO counts above were perpetrated by high

      ranking officials in the Kennebec County Sheriff’s Office, its Corrections Division and

      the Kennebec County Correctional Facility who were agents of each association or

      organization while acting within the scope of their offices or employment.

   362)       The crimes enumerated in the RICO counts above could not have been

      perpetrated by so many high ranking officials for the length of time they continue to

      engage in criminal racketeering activity without the implied or express consent of

      Kennebec County or the Kennebec County Commissioners and Kennebec County

      Administrator.

   363)       Kennebec County, the Kennebec County Commissioners and the Kennebec

      County Administrator are charged with the public trust and statutory regime to oversee

      all operations in all offices appointed or elected within the County.

   364)       In violation of public trust and statutory regime, Kennebec County, the Kennebec

      County Commissioners and the Kennebec County Administrator failed in their

      affirmative duty to oversee the operations of all appointed and elected officials, and

      permitted the wide spread abuse of power, criminal conspiracies and racketeering activity

      to continue in violation of their statutory duties.

   365)       As direct and proximate result of Kennebec County, Kennebec County Sheriff’s

      Office and its Corrections Division, the Kennebec County Commissioners, and County

      Administrator’s breach of their statutory duty and guilt for the commission of the crimes

      committed by its high ranking officials, Plaintiffs have been injured in their business and

      property in that: the Plaintiffs were denied promotions, targeted for termination and

      wrongfully discharged from employment.




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   366)       Plaintiffs request relief as described in the Prayer for Relief below.

WHEREFORE, Plaintiffs respectfully request the following relief:

   A. that this Court enter judgment against the Defendants for violations of the RICO Act as

       follows:

          a. An order against all RICO Defendants to divest themselves of any interest, direct

              or indirect, in The Kennebec County Sheriff’s Office and/or the Kennebec County

              Sheriff’s Office, Corrections Division;

          b. actual damages for the economic loss suffered by each Plaintiff;

          c. treble damages as permitted by 18 U.S.C. §1964(c); and

          d. attorney’s fees.

   B. Enter a declaratory judgment that the practices complained of in this complaint are

       unlawful and violate Title VII of the Civil Rights Act of 1964 and the Maine Human

       Rights Act;

   C. Grant all injunctive relief necessary to bring Defendants into compliance with the

       aforementioned laws;

   D. Order Defendants to pay the wages, salary, employment benefits, and other compensation

       denied or lost to Plaintiff-Intervenor Khan to date by reason of Defendants’ unlawful

       actions, in amounts to be proven at trial;

   E. Order Defendants to pay compensatory damages for Plaintiffs DiGiacomo, Huard and

       Caudill’s emotional pain and suffering, in an amount to be proven at trial;

   F. Order Defendants to pay exemplary and punitive damages;

   G. Order Defendants to pay attorneys’ fees and costs of the action;




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   H. Order Defendants to pay interest at the legal rate on such damages as appropriate,

      including pre- and post-judgment interest; and

   I. Grant such other and further relief that the Court deems just and proper.

      Dated at Waterville, Maine, this 29th Day of October, 2016.



                                                       /s/ Jackie T. DiGiacomo, Esq
                                                       _____________________________
                                                       Jackie T. DiGiacomo, Esq.
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